                                                              Z New Genesis Networks Telcom Services, LLC
                                 Case 24-33835-mvl7 Doc 141-3              FiledIncome
                                                                      Year-to-Date  02/03/25
                                                                                           Statement    Entered 02/03/25 17:46:43 Desc
                         Exhibit EXH G-10 - Genesis Networks
                                                         For the Telecom         Services
                                                                 Twelve Months Ending                LLC
                                                                                      Friday, December       Income Statements (201 Page 1 of 14
                                                                                                       31, 2010




                                       Jan, 2010         Feb, 2010         Mar, 2010        Apr, 2010         May, 2010        Jun, 2010         _Jul, 2010     Aug, 2010       Sep, 2010       Oct, 2010       Nov, 2010       Dec, 2010         Total             YTD
Revenue
   Services                                        0.                0.                0.               0.                0.               0.     887,081.        878,620.      1,151,938.      1,894,259.      3,948,499.       1,309,347.     10,069,744.       10,069,744.
   Income Other
Total Revenue                                      0.                0.                0.               Q,                0.               0.     887,081.        878,620.      1,151,938.      1,894,259.      3,948,499.       1,309,347.     10,069,744.       10,069,744.

Cost of Goods Sold
   Production COGS-Other                           i)                i)                 0               ie)               i)                0      651,313         666,372         720,570       1,238,052       2,066,160         914,082       6,256,549         6,256,549
Cost of Goods Sold                                  0                 0                 0                0                 0                0      651,313         666,372         720,570       1,238,052       2,066,160         914,082       6,256,549         6,256,549

Gross Profit                                        0                i)                 0                0                 0                0      235,768         212,248         431,368         656,207       1,882,339         395,265       3,813,196         3,813,195

Expenses
 Employee Expense
   Net Salaries                                     0                 0                 0                0                 0                0       82,015         171,834         174,538         171,125         375,455          176,508       1,151,476         1,151,476
   Bonuses and Commissions                         ie)                i)                0                0                 0                0       29,840          50,579          80,885         111,893         364,879        (109,263)         528,813           528,813
                                                    0                 0                 0                0                 0                0      111,855         222,413         255,423         283,018         740,334           67,245       1,680,289         1,680,289
Operating Expenses
  Rent                                              0                 0                 0                0                 0                0        17,701         (4,433)         25,420          25,420          25,420            1,073          90,601            90,601
  Ul      S                                         0                 0                 0                0                 0                0             28          3,855           5,798          4,193           2,998            3,084           19,957           19,957
  Security Expense                                  0                 0                 0                0                 0                0             50             85             112             99               99               99             543               543
  Repairs and Maintenance                           0                 0                 0                9)                0                0               0         1,084           1,972          2,053           3,142            2,070           10,321           10,321
  Liability Insurance                               0                 0                 0                0                 0                0        20,943         22,665            4,303         14,777          15,984            7,139          85,812            85,812
  Telephone, Cell,Internet                          0                 0                 0                0                 0                0         1,548           3,854           3,687          2,243           3,002            2,728           17,061           17,061
  Meals and Entertainment                           0                 0                 0                0                 0                0         2,847           7,656          14,436         11,382           3,728            3,451          43,499            43,499
  Minor Tools Equipment                             0                 0                 0                0                 0               ie)              0              0            151              76              76               76             379               379
  Training, CE, PD                                  0                 0                 0                0                 0                0               0             i?)             (0)        1,091             425                  0          1,516             1,516
  Expenses - Other                                 ie]                9                 0                0                 0               ie)         (399)        16,774          44,090          63,069         109,512           28,702         261,748           261,748
                                                    0                 0                 0                0                 0                0        42,718         51,540          99,969         124,403         164,386           48,422         531,437           531,437
G &A Expense
  Dues and Subscriptions                            0                 0                 0                0                 0                0          1,881         3,167              120           2,556             890             100           8,713             8,713
  Licenses and Permits                              0                 0                 0               10)                0                0               5           162             185           1,682             712           (282)           2,464             2,464
  Postage and Delivery                              0                 0                 0                0                 0                0            342             96             202             204             459               92          1,395              1,395
  Professional Fees                                ie)                0                 0               10)                0                0        12,467         11,110          19,657           11,550           6,529         16,314           77,627            77,627
  Office Supplies & Equipment                       0                 0                 0                0                 0                0            577            518           2,743             855           2,424             504           7,622             7,622
  Marketing, Advertising Promotions                ie)               ie)                0                0                 0                0               0           392             693             347             328             830           2,590             2,590
  Bank Services Charges                            te)                0                 0                0                 0                0            995            887           1,061             994             781           1,048           5,765             5,765
  Bad Debt Expense                                  0                 0                 0                0                 0                0               0              0          7,709               10)              0                0         7,709              7,709
  Donations and Contributions                       0                 0                 )                0                 0                0               0              0          2,500           3,600                0)         1,200           7,300              7,300
  State, Local Tax Expense                         i?)               ie)                O                0                 0                0          1,419          1,419           1,419          16,895        (12,525)           1,419          10,047            10,047
                                                    i)                0                 0                0                 0                0        17,686         17,751          36,289          38,683            (402)         21,225          131,233           131,232
Total Expense                                       0                 0                 0                0                 0               iC]      172,259        291,704         391,681         446,104         904,318         136,892        2,342,958         2,342,958
EBITDA                                              0                 0                 0                0                 0                0        63,509        (79,456)         39,687         210,103         978,021         258,373        1,470,237         1,470,237
  Depreciation, Amortization                        0                 0                 0                0                 0                0            989        (8,624)         (4,525)         (5,603)         (5,939)          28,794               5,092           5,092
Other Income and Expense
   Other Income                                     0                 0                 0                0                 0               te)        17,449        (2,363)           3,050           7,079          1,344              579          27,138            27,138
   Interest Expense                                 0                 0                 0                0                 0                0        (1,180)        (3,992)         (5,111)         (2,377)        (6,965)          (6,136)        (25,762)          (25,762)
Net Income                                          0                 0                 0                0                 9                0        80,767        (24.435).        33,101         209,202        966,461          281,610        1,476,705         1,476,705




                                                                                                                                                                                                                                                                  G-10
                                                                                                                                1 of 1                                                                                                                              Confidential
                                                                Z New Genesis Networks Telcom Services, LLC
                                 Case 24-33835-mvl7 Doc 141-3                Filed 02/03/25 Entered 02/03/25 17:46:43 Desc
                                                                        Year-to-Date Income Statement
                         Exhibit EXH G-10 - Genesis Networks      Telecom
                                                         For the Twelve            Services
                                                                         Months Ending                 LLC
                                                                                        Saturday, December     Income Statements (201 Page 2 of 14
                                                                                                           31, 2011




                                       Jan, 2011      Feb, 2011       Mar, 2011       Apr, 2011       May, 2011       Jun, 2011       Jul, 2011      Aug, 2011        Sep, 2011       _— Oct, 2011       _ Nov, 2011       Dec, 2011        Total          YTD
Revenue
   Services                              458,030.       670,449.        896,169.      1,019,087.        608,405.      1,292,576.      1,746,622.     1,437,660.       1,559,526.           981,390.        1,233,283.        720,669.     12,523,868.    12,523,868.
   income Other
Total Revenue                            458,030.       670,449.        896,169.      1,019,087.        508,405.      1,292,576.      1,746,622.     1,437,660.       1,559,526.           981,390.         1,233,283.       720,669.     12,523,868.    12,523,868.

Cost of Goods Sold
   Production COGS-Other                  379,872        411,933         719,738         806,666         288,456         884,364       1,431,495        931,533:       1,066,061            753,322           856,455         655,410      9,185,306      9,185,306
Cost of Goeds Sold                        379,872        411,933         719,738         806,666         288,456         884,364       1,431,495        931,533        1,066,061            753,322           856,455         655,410      9,185,306      9,185,306

Gross Profit                               78,158        258,516         176,431         212,421         219,949         408,212         315,127        506,127          493,465            228,068           376,828          65,259     - 3,338,562      3,338,562

Expenses
 Employee Expense
   Net Salaries                           229,995        190,795         187,708         169,849         176,488         181,345         133,871        212,089          195,675            221,520           186,146         194,991       2,280,473      2,280,473
   Bonuses and Commissions                   9,514        36,862          46,969          59,735          55,687          62,197          76,648         28,446           77,998             31,363            63,229         (34,789)        513,859        513,859
                                          239,509        227,657         234,677         229,584         232,175         243,542         210,519        240,535          273,673            252,883           249,375         160,202       2,794,331      2,794,332
Operating Expenses
  Rent                                      23,462        16,512          30,413           23,462         23,462          23,461          23,462         23,462           23,462             23,462             23,462         23,462         281,546        281,546
  Utilities                                  3,011         2,826           3,664            2,915          3,737           4,805           6,075          7,171            6,255              5,137              3,962          3,453          53,011         53,011
  Security Expense                              99             99             99               99            149                99            170            54              104                 104                154            154           1,384          1,384
  Repairs and Maintenance                    1,034         1,414           2,007            2,927          1,214            1,158           2,302         4,075            1,752              1,466               1,503           964          21,816         21,816
  Liability Insurance                       17,235        14,431          12,156           15,838         13,591          16,128          16,786         18,061           18,761             15,066             15,972         17,867         191,893        191,893
  Telephone,Cell,Intemet                     3,284         3,887           4,031            4,360          4,152            3,541           3,716         3,009            3,525              2,409              3,409          3,429          42,750         42,750
  Meals and Entertainment                    4,575         3,944           §,932            4,376         11,759            3,122             870         4,520            6,142               1,031             5,248          6,096          57,615         57,615
  Minor Tools Equipment                          76            76              76               76             76               76              76            76               76                  76                76             76             909            909
   Training, CE, PD                              70              0         2,248              445             116                 0              0              0          1,036               1,275                   0           250           5,440          5,440
   Expenses - Other                         16,908        83,841          23,084           30,198         56,217          54,889          34,606         37,699           36,454             31,406             20,612         72,000         497,914        497,914
                                            69,754       127,030          83,710           84,696        114,473         107,279          88,063         98,127           97,567             81,432             74,398        127,751       1,154,276      1,154,278
G &A Expense
  Dues and Subscriptions                     1,795            850           3,234           3,245           2,956          4,727            7,143          6,191          11,577              14,241           14,517          17,811          88,287         88,287
  Licenses and Permits                         150              74          1,250                0            130                0             40                0             34                 116            3,603                0         5,397           5,397
  Postage and Delivery                         261            209             625             387             696             566             946            668              134                 449              203             278          5,420           5,420
  Professional Fees                         4,689          5,419           15,826         14,516            4,355         13,355          12,500         16,007                  0            12,168             2,449         17,497         118,751        118,751
  Office Supplies & Equipment                  567            929           1,997           2,326             789           1,850             535          1,275            1,217              1,003               735             695         13,919         13,919
  Marketing, Advertising Promotions               0           291                9)              ©                0              0               0               0               0                   0                0               0            291            291
  Bank Services Charges                        842            582             904             678           2,351           (112)          3,482             791              728                991               869             828         12,933         12,933
  Bad Debt Expense                                0         3,651           4,035         (2,065)         (1,586)               ie)        2,306         (2,306)                 0                   0                0               0         4,035           4,035
  Donations and Contributions                     0               0             (0)           900                 0              0               0              ie)           360                    0                0            473           1,733          1,733
  State, Local Tax Expense                   1,419          1,545           1,419           1,489           2,359          6,782           4,721         (1,460)            1,160               1,348          (3,886)           1,029         17,925          17,925
                                            9,723         13,550          29,290          21,476          12,050          27,168          31,673         21,166           15,210              30,316            18,460         38,611         268,692        268,691
Total Expense                             318,986        368,237         347,677         335,756         358,698         377,989         330,255        359,828          386,450            364,631           342,233         326,564       4,217,300      4,217,301

EBITDA                                   (240,828)      (109,721)      (171,246)        (123,335)       (138,749)          30,223        (15,428)       146,299          107,015          (136,563)             34,595       (261,305)      (878,738)      (878,739)

  Depreciation, Amortization                (5,941)       (5,989)         (5,941)          (5,941)        (5,941)         (6,942)         (7,780)        (7,838)          (7,645)            (7,970)            (7,778)        (7,970)       (83,675)        (83,675)
Other Income and Expense
   Other Income                               7,925        1,465        8,004              10,475            2,103            490           1,211         7,833              (773)           (3,919)              (652)            169          34,332         34,332
   Franchise Taxes                                 0            0            0                    0        (2,349)               0          1,029              ie]               6]                 0                  0              0        {1,320)        (1,320)
   Interest Expense                           (828)      (2,831)      (2,410)              (1,754)         (1,167)        (2,032)           (673)          (700)             (136)             (713)              (646)               0       (13,990)       (13,990)
Net income                            ___(239,772) __ (117,076) __ (171,593)            (120,555)       (146,103)         21,739         (21,341)       145.594            98,461         _(149,165)                                         943,391        943,392
Net Margin                                (100.0%)         0.0%          0.0%                0.0%            0.0%           0.0%             0.0%          0.0%              0.0%              0.0%               0.0%           0.0%        (100.0%)            0.0%




                                                                                                                       1of 1                                                                                                                              Confidential
                                                                 Z New Genesis Networks Telcom Services, LLC
                                 Case 24-33835-mvl7 Doc 141-3               Filed Income
                                                                         Year-to-Date 02/03/25
                                                                                             Statement   Entered 02/03/25 17:46:43 Desc
                         Exhibit EXH G-10 - Genesis Networks Telecom
                                                          For the                  Services
                                                                   Tweive Months Ending                LLC
                                                                                        Monday, December      Income Statements (201 Page 3 of 14
                                                                                                          31, 2012




                                       Jan, 2012         Feb, 2012      = Mar, 2012     —_ Apr, 2012      = May, 2012       —_ Jun, 2012         Jul, 2012      Aug, 2012      Sep, 2012      Oct, 2012      _Nov,2012      Dec, 2012          Total          YTD
Revenue
   Services                             1,027,047.         908,149,       1,086,366.        803,363.        1,773,634.         1,263,460.        1,554,104.     2,196,583.     2,076,075.     2,140,684.     2,387,724.      (228,816.)      16,988,373.    16,988,373.
    Income Other
Total Revenue                           1,027,047.         908,149.       1,086,366.        803,363.        1,773,634.         1,263,460.        1,554,104.     2,196,583.     2,076,075.     2,140,684.     2,387,724.      (228,816.)}     16,988,373.    16,988,373.

Cost of Goods Sold
   Production COGS-Other                  613,007           717,397          570,062         586,890         1,276,585           970,515        _ 1,087,967      1,496,983      1,351,794      1,577,098      1,796,563      (144,163)      _ 11,900,699    11,900,699
Cost of Goods Sold                        613,007           717,397          570,062         586,890         1,276,585           970,515          1,087,967      1,496,983      1,351,794      1,577,098      1,796,563      (144,163)        11,900,699    11,900,699

Gross Profit                              414,040           490,752          516,304         216,473           497,049           292,945           466,137         699,600        724,281        563,586        591,161        (84,653)        5,087,673     5,087,674

Expenses
 Employee Expense
   Net Salaries                           207,232           207,950          213,950         216,325           224,370           225,175           215,416         221,171        212,259        183,508        183,171        251,021         2,561,550     2,561 550
   Bonuses and Commissions                 52,397            19,892           68,266          26,137            87,767            31,170            66,953          97,434         93,770         84,849         88,247           5,128          722,009       722,009
                                          259,629           227,842          282,216         242,462           312,137           256,345           282,369         318,605        306,029        268,357        271,418        256,149         3,283,559     3,283,559
Operating Expenses
  Rent                                     23,140            18,492           23,140           23,140           23,140             23,140            23,140         24,930         24,930         24,930         22,071         19,248           273,436       273,436
  Utilities                                  3,538            3,401            3,969            4,485            4,482              5,381             5,963             336        11,192          4,872          4,605          4,182            56,405         56,405
  Security Expense                             104                59             104              104              154                104               418             110           110            110            110            110             1,598          1,598
  Repairs and Maintenance                      994            4,327              724            1,103            1,047                654             3,058            849          2,626            849          1,552          3,019            17,802        17,802
  Liability Insurance                       18,698           20,235           24,195           33,576           15,527             29,768            19,600          1,655         15,518         18,238         12,210         33,790           243,009       243,009
  Telephone,Cell,Intemet                     2,893            3,670            3,459            3,752            3,506              3,353             3,504          4,884          2,802          4,099          2,389          4,962            43,272        43,272
  Meals and Entertainment                   5,349              1,522           6,074           6,988               318              1,227             2,611           5,537         6,500          3,993          3,096          4,363            47,578        47,578
  Minor Tools Equipment                         76                76               82              76                76                76                 76             76             76            76             76              76              915           915
  Training, CE, PD                                0              149           2,140             200                  i?)             370              1,824             99               0        4,904            695          2,500            12,882        12,882
  Expenses - Other                         30,709            19,556            7,525          36,194            46,979              9,454            15,788           6,060        11,659          5,168          4,836         25,715           219,644       219,644
                                           85,501            68,487           71,412         109,618            95,229             73,527            75,982         44,536         75,413         67,239         51,640         97,965           916,541       916,541
G &A Expense
  Dues and Subscriptions                    19,458           16,038           20,630           16,363           18,382             19,848            17,681         25,183         24,198         23,959         19,740         21,703           243,182       243,182
  Licenses and Permits                            0              77                 0              20                 0               396               264            264            264            264            264            132              1,946         1,946
  Postage and Delivery                         204              655              830              382              230                897             1,101            564            329            388            493            124             6,198         6,198
  Professional Fees                            394              659            6,685            2,538            2,862              2,682            13,544         35,854         18,357         19,005         11,777         18,504           132,858        132,858
  Office Supplies & Equipment                3,293            1,561            2,438            1,949             1,592                  881          2,014          2,481           1,226          1,131         3,186           2,436           24,177         24,177
  Marketing, Advertising Promotions               0               it)          1,025                (0)             168                697                  0           765           877             490         3,592             309            7,923          7,923
  Bank Services Charges                        633              864            7,192          (4,891)             1,113              1,124             1,782            819         1,157           1,544         3,052           1,782           16,169         16,169
  Bad Debt Expense                                0                0                0                0                 0                  0                 0              0       20,195                0            (0)              0          20,195         20,195
  Donations and Contributions                     0                0                0                0                 0                  0                 0              0          750                0            ia)             (0)            750            750
  State, Local Tax Expense                   1,040             1,139            1,030             589              393              1,596              2,443             62           462           1,633           289         (1,319)            9,357          9,357
                                           25,022            20,983           39,830           16,950           24,740            28,121             38,829         65,992         67,815         48,414         42,393         43,671           462,754       462,755
Total Expense                             370,152           317,312          393,458         369,030           432,106           357,993            397,180        429,133       449,257         384,010       365,451         397,785         4,662,853     4,662,855

EBITDA                                     43,888         (126,560)          122,846        (152,557)          64,943            (65,048)            68,957        270,467        275,024        179,576        225,710      (482,438)           424,820       424,819
  Depreciation, Amortization               (7,567)           (7,759)          (7,672)         (8,208)           (9,104)           (9,293)            (8,780)        (8,600)        (8,720)        (7,646)        (7,695)        (7,646)         (98,691)       (98,691)
Other Income and Expense
   Other income                                     9         1,295            6,666          (4,010)             3,689                  506          4,349           (784)            174            422           976         (3,334)            9,958          9,958
   Franchise Taxes                                  0              0                0                i          (1,546)                     0         (177)                0              0              0             0               0         (1,723)        (1,723)
   Interest Expense                                i?)        (625)             625)            (625)             (625)                     0            (3)        (4,558)        (3,333)        (3,333)              0               0        (13,727)       (13,727)
Net income                                 36,330___      (133,649)          121,215        (165,400            57,357           (73,835)            64,346      256.525       —-263,145         169,019        218,991      (493,418)           320,637       320,636
Net Margin                                   0.0%              0.0%             0.0%            0.0%              0.0%               0.0%              0,0%           0.0%           6.0%           0.0%           0.0%        200.0%            200.0%             0.0%




                                                                                                                                1 of 7                                                                                                                        Confidential
                                                                Z New Genesis Networks Telcom Services, LLC
                                 Case 24-33835-mvl7 Doc 141-3               Filed Income
                                                                        Year-to-Date  02/03/25
                                                                                            Statement    Entered 02/03/25 17:46:43 Desc
                         Exhibit EXH G-10 - Genesis Networks
                                                         For the Telecom           Services
                                                                  Twelve Months Ending                LLC
                                                                                       Tuesday, December      Income Statements (201 Page 4 of 14
                                                                                                          31, 2013




                                       Jan, 2013       Feb, 2013        Mar, 2013       Apr, 2013       May, 2013      Jun, 2013       Jul, 2013      Aug, 2013       Sep, 2013      Oct, 2013       Nov, 2013       Dec, 2013          Total          YTD
Revenue
   Services                             1,375,238.     1,271,783.       1,668,191.      3,072,484.      2,486,426.     2,469,171.      1,322,740.     1,544,237.      1,926,058.     1,307,620.      1,093,263.      3,822,975.       23,360,186.    23,360,186.
   income Other
Total Revenue                           1,375,238.     1,271,783.       1,668,191.      3,072,484.      2,486,426.      2,469,171.     1,322,740.     1,544,237.      1,926,058.     1,307,620.      1,093,263.      3,822,975.       23,360,186.    23,360,186.

Cost of Goods Sold
   Production COGS-Other                  868,219         779,499        1,061,802       2,496,061       _—-2,235,000___—-1,338,377       996,861        938,273       1,425,733        750,753         676,806       1,268,142       14,835,528     14,835,528
Cost of Goods Sold                        868,219         779,499        1,061,802       2,496,061       2,235,000       1,338,377        996,861        938,273       1,426,733        750,753         676,806       1,268,142       14,835,528     14,835,528

Gross Profit                              507,019         492,284         606,389          §76,423         251,426     = 1,130,794        325,879        605,964         500,325        556,867         416,457       2,554,833         8,524,658     8,524,658
Gross Margin                                 0.0%            0.0%            0.0%             0.0%            0.0%            0.0%           0.0%           0.0%            0.0%           0.0%            0.0%         100.0%             100.0%          0.0%

Expenses
 Employee Expense
   Net Salaries                           207,372         205,327          192,695         231,800         191,816        187,098         211,325        205,793         208,216        199,198         193,248         288,686         2,522,574     2,522,574
   Bonuses and Commissions                 83,024          78,144           88,079          98,427         (18,079)       162,821          58,257        106,269         102,469         70,806          65,192         378,224         1,273,632     1,273,632
                                          290,396         283,471          280,774         330,227         173,737        349,919         269,582        312,062         310,685        270,004         258,440         666,910         3,796,206     3,796,206
Operating Expenses
  Rent                                     24,289          23,541           23,489          24,289          24,289          24,289         24,289         24,289          25,085         23,493          20,910           24,289          286,536       286,536
       ities                                4,168           4,090            4,105              483          8,547           5,855          6,148           6,666          6,237          5,882           4,469            5,026           61,676        61,676
  Security Expense                            110              110              110             110            210             160            110             116             116            116            169               119            1,556         1,556
  Repairs and Maintenance                   1,297            1,556           1,236           1,816             724           1,029          2,901           2,577          2,567           1,011            904              849           18,468        18,468
  Liability Insurance                      32,317          22,218           17,600          20,338          19,681          21,209         21,838         20,562          20,764         21,159          21,307         (23,400)          215,592       215,592
  Telephone, Cell,Internet                  3,458           3,690            3,923           4,068           5,378           7,481          4,952           5,285          2,901          3,993           3,749            2,741           51,616        51,616
  Meals and Entertainment                   2,267            1,033           1,232            (869)          1,048           2,928            790           2,325           3,716         6,299           1,050                47          21,867        21,867
  Minor Tools Equipment                         76              76               76              76              76              76             76             76              76            564              76               76            1,396         1,396
  Training, CE, PD                                0               0           1,695             319                0               0          160                0            295            520                9)               0           2,889         2,889
  Recruiting Expense                              0               0                0              (9)              0         2,496                0              0               0              0               0               (0)          2,496         2,496
  Expenses - Other                         21,376              793           2,080           3,395           5,069           7,424          2,897           2,699           5,047        12,805          15,120           18,710           97,415        97,415
                                           89,358          57,107           55,446          54,025          65,022          72,947         64,161         64,595          66,804         75,842          67,754           28,457          761,507       761,507
G & A Expense
  Dues and Subscriptions                   17,783          26,318           27,879          13,694          17,887          20,882         16,988          28,363          16,976        17,890          16,170          15,904           235,737        235,737
  Licenses and Permits                         182              427             (53)            132             119                0              0               0              0              0            200                0            1,008          1,008
  Postage and Delivery                         586              139             157             196             980             384            523            267             196            130                2            343            3,903           3,903
  Professional Fees                        10,100           14,330          33,537          40,517          36,524          66,675         28,443          31,841         45,883         36,855          31,159          19,622           385,486        385,486
  Office Supplies & Equipment                1,766           3,190            1,874           1,829           3,040          3,360           3,317          2,713           2,498          3,478           2,629          2,447            32,142         32,142
  Bank Services Charges                      1,351              193           1,988           1,988           2,578          2,165           2,385          2,047           2,543          2,072           1,929           1,763           23,003         23,003
  Bad Debt Expense                                0          1,423                  0       15,525                 0               0              0      116,834              213              ie)           690           5,143          139,828        139,828
  Donations and Contributions                     0               ie)               0           380                0          1,000               0               0           500            130               (0)              0           2,010           2,010
  State, Local Tax Expense                     946            (724)          3,234            1,143           2,480             369        40,088        (42,062)         (2,686         (3,875)             548         10,104             9,567           9,567
                                           32,714          44,296           68,616          75,404          63,608         84,835          91,744        140,003          66,12          56,680          53,327          55,326           832,682        832,684
Total Expense                             412,468         384,874          404,836         459,656         302,367        507,701         425,487        516,660         443,612        402,526         379,521         750,693         5,390,396      5,390,397

EBITDA                                     94,551         107,410          201,553         116,767         (50,941)        623,093        (99,608)        89,304          56,713        154,344          36,936       1,804,140         3,134,262      3,134,261

  Depreciation, Amortization               (6,172)         (7,430)          (8,108)         (8,171)         (8,355)         (8,341)        (8,335)        (8,681)         (8,402)        (8,520)         (8,621)         (7,490)         (96,625)       (96,625)
Other Income and Expense
   Other Income                              1,783          2,265             7,532         17,411            6,763           6,033      3,948             6,379               56             73              56      10,097               62,398         62,398
   Franchise Taxes                                0              0                 0              (8)       (3,981)                0           oO                0               0             ie)              0            0             (3,981)        (3,981)
   Interest Expense                               9)             0            (584)           (683)             (88)        (1,429)       (566)             (744)           (906)          (380)           (596)        (370)              (6,345)        (6,345)
Net Income                                  90,162        102,245          200.393         125,324         56,602)         619,356 _ (104,561)            86,258          47,461        145,514          27,775 __ 1,806,377            3,089,709      3,089,708




                                                                                                                         1 of 1                                                                                                                        Confidential
                                                                  Z New Genesis Networks Telcom                                               Services, LLC
                                   Case 24-33835-mvl7 Doc 141-3                FiledIncome
                                                                          Year-to-Date  02/03/25
                                                                                             Statement     Entered 02/03/25 17:46:43 Desc
                                                                                       Wednesday, December     2014
                                                                                                           31, Income
                           Exhibit EXH G-10 - Genesis Networks      Telecom
                                                          For the Twelve Months EndingServices         LLC            Statements (201 Page 5 of 14

                                        Jan, 2014      _Feb,2014      _Mar, 2014       _Apr,2014__      May, 2014          __Jun,2014         Jul, 2014_—     Aug, 2014       Sep, 2014        Oct, 2014       Nov, 2014 _ Dec, 2014             Total            YTD
Revenue
   Services                               919,595.     2,148,681.     1,179,931.       1,168,830.         673,871.           515,240.         2,385,553.        823,963.      1,812,905.       2,104,201.      1,445,838.      4,702,553.      19,881,161.      19,881,161.
    Income Other
Total Revenue                             919,505.     2,148,681.     1,179,031.       1,168,830.         673,871.           515,240.         2,905,553.        823,963.       1,812,905.      2,104,201.      1,445,838.      4702553.        19,881,161.      19,881,161.

Cost of Goods Sold
   Production COGS-Other                   485,792        977,357.       _—«634,371.      780,806          «555,398           —388,264         1,190,523         __—622,799    1,396,671 _ 1,865,724            _1,032,767__   3,858,000 _ 13,788,472 __ 13,788,472
Cost of Goods Sold                         485,792        977,357        634,371          780,806          555,398            388,264          1,190,523.        622,799       1,396,671   1,865,724            1,032,767      3,858,000   13,788,472    13,788,472

Gross Profit                               433,803      1,171,324        545,560          388,024          118,473            126,976          1,195,030         201,164         416,234          238,477         413,071        844,553        6,092,689        6,092,689
Gross Margin                                  0.0%        100.0%            0.0%             0.0%             0.0%               0.0%            100.0%             0.0%            0.0%             0.0%            0.0%           0.0%          200.0%              0.0%

Expenses
 Employee Expense
   Net Salaries                            220,610     236,889           245,272           235,064         194,072            212,865   231,893                  214,663         206,764          206,311         168,677        298,448 +      «=—-2,671,528    2,671,528
   Bonuses and Commissions                  65,987 ___ 176,650             73,734            15,643          18,806            75,965 _ 179,287                   19,530          58,012           15,461          77,725         74,820           851,620         851,620
                                           286,507     413,539           +-319,006.        +«250,707       ~+~«212,878 +      ~+288,830 411,180                  234,193         264,776          221,772         246,402        373,268        3,523,148        3,523,148
Operating Expenses
  Rent                                      24,616         24,616          21,621           24,616          24,616              24,616             24,616         24,616          23,821           24,616           24,616         24,616         291,600          291,600
  Utilities                                  4,976          4,239           5,120            4,613           5,093               6,058              6,556          7,036            6,913           5,546            4,862           4,027         65,040           65,040
  Security Expense                             119               0             547              119             119                 224               119             251             201              126             201             126          2,155             2,155
  Repairs and Maintenance                    1,540            995            4,105           6,174           3,286                1,913             3,282           1,834           4,261           2,182            8,424         (2,899)         32,092           32,092
  Liability Insurance                       21,418         20,013          21,572           21,907          20,649              22,723             23,905         21,138          22,913           22,719           23,719         12,786         255,463          255,463
  Telephone,Cell,Intemet                     2,928          3,086           4,529            3,519           3,318               3,303                   0          1,668           4,275           2,488            2,477           3,472         35,063           35,063
  Meals and Entertainment                    1,180          2,482           5,360            3,246            1,522              7,620              9,449           (483)             701              991           7,568           2,637         42,274           42,274
  Minor Tools Equipment                          76             76             555               76              76                  76                 76             76               76               76              76              76          1,388            1,388
  Training, CE, PD                             150                0               0             189                0                   0                15                0         2,085                  0               0         1,050           3,489            3,489
  Recruiting Expense                               0              0        30,000           26,000                 0                   0                  0               0           129              129              129                0       56,387           56,387
  Expenses - Other                           8,310         13,557            3,022            1,098          9,870              12,412              9,648           2,178           1,186            8,653           4,159         23,567          97,658           97,658
                                            65,313         69,064          93,431           91,554          68,549              78,945             77,666         58,314          66,561           67,526           76,231         69,458         882,608          882,609
 G & A Expense
   Dues and Subscriptions                   17,875         18,210          26,502           19,851          18,213             19,665              14,418         15,251           16,432          18,012          16,140       15,843             216,413          216,413
   Licenses and Permits                         189         2,300           2,401             2,664           2,664                364                 470            470             964              990           4,002       1,002               15,480           15,480
   Postage and Delivery                          56           131              489                29             44                108                 226             70              398             362              28          54                1,997            1,997
   Professional Fees                        31,085         26,318          33,778           22,220          45,785             25,131              11,615         27,048           32,964          35,933          18,024       13,715             323,615          323,615
   Office Supplies & Equipment               3,913          4,016           4,082             7,144           3,386              2,672              3,810          2,407            4,273           3,836            5,509       3,882              48,898            48,898
   Marketing, Advertising Promotions               0          578              414            1,000           2,500                   0                   0               0               0               0               0        108                4,298            4,298
   Bank Services Charges                      1,586         2,215            3,352            2,487           2,134              2,025               4,679          2,099            1,914           1,489           2,179       1,726               24,885           24,885
   Bad Debt Expense                                0        6,697          25,337             3,023           1,747              1,318             10,546           5,956           6,087           8,151                 0     86,637             155,500          155,500
   State, Local Tax Expense                     836        19,590              722          (4,891          (2,033)            (5,676)             11,866           4,244           6,079           7.078          (6,807) __ (68,143)             (40,136)         (40,136)
                                            55,540         80,055          96,774           53,494          74,440             45,607              54,630         54,542           69,111          75,851          36,075      54,824              750,950          750,950
Total Expense                              407,450        562,658         509,211          395,755         355,867            413,382             543,476        347,049          400,448         365,149         358,708     497,550            5,196,706        5,150,707
EBITDA                                       26,353       608,666          36,349           (7,731)       (237,394)          (286,406)            «651,554      (145,885)          15,786        (126,672)          54,363        347,003          935,984          935,982
  Depreciation, Amortization                (7,490)        (6,997)         (7,249)          (7,236)         (7,333)             (7,390)            (7,411)         (7,253)         (7,349)         (7,364)          (7,171)        (8,186)         (88,429)         (88,429)
Other income and Expense
   Other Income                                 275            453           5,977                90             38                     28             373              10           1,150              191            174             44             8,802            8,802
   Franchise Taxes                                 0              0               0            (762)        (6,532)                       0               0               0                0              0               0               0         (7,294)          (7,294)
   Interest Expense                           (108)          (364)                0                 0              0                      0           350)                0            (23)               0               0           (45)            (890             (890)
Net Income                                                                                                                                        644,166       (153,128             9.564       (133,845)          47,366        338,816          848,172          848,171
Net Margin                                    0.0%            0.0%            0.0%             0.0%            0.0%           (100.0%)                 0%            0.0%             0.0%            0.0%            0.0%           0.0%         (100.0%               0.0%




                                                                                                                              1of1                                                                                                                                 Confidential
                                                                                           Z New Genesis Networks Telcom Services, LLC
                                   Case 24-33835-mvl7 Doc 141-3Year-to-Date   FiledIncome
                                                                                        02/03/25
                                                                                              Statement    Entered 02/03/25 17:46:43 Desc
                                                           For the Twelve Months Ending Thursday, December 31, 2015
                           Exhibit EXH G-10 - Genesis Networks      Telecom Services LLC Income Statements (201 Page 6 of 14

                                       Jan, 2015      Feb, 2015     Mar, 2015      Apr, 2015      May, 2015      Jun, 2015        Jul, 2015     Aug, 2015     Sep, 2015     Oct, 2015      Nov, 2015       Dec, 2015        Total          YTD
Revenue
   Services                             1,311,174.    1,379,353.    2,671,165.     2,016,227.     1,041,376.       935,157.         978,738.    1,137,213.    2,425,800.    2,673,206.      2,348,861.     1,948,191.     20,866,460.    20,866,460.
   income Other
Total Revenue                           1,341,174.    1,379,353.    2,671,165.     2,016,227.     1,041,376.       935,157.         978,738.    1,137,213.    2,425,800.    2,673,206.      2,348,861.      1,948,191.    20,866,460.    20,866,460.

Cost of Goods Sold
   Production COGS-Other                1,231,540      1,237,864     1,472,149      1,284,985        941,778        581,668         871,989        741,306     4,593,680     2,191,528     _—_ 1,403,044    1,157,136     14,708,669     14,708,669
Cost of Goods Sold                      1,231,540      1,237,864     1,472,149      1,284,985        941,778        581,668         871,989        741,306     1,593,680     2,191,528         1,403,044    1,157,136     14,708,669     14,708,669

Gross Profit                               79,634        141,489     1,199,016        731,242         99,598        353,489          106,749       395,907       832,120       481,678         945,817        791,055      6,157,792      6,157,791

Expenses
 Employee Expense
   Net Salaries                           225,920        234,447       165,859        204,741        217,496        189,428         217,015        209,636       137,353       197,069         207,177        248,978       2,455,119      2,455,119
   Bonuses and Commissions                 47,360         21,127       179,923        134,601         34,237          50,560          36,062        57,247       198,297        80,434         141,873        (19,968)       961,751        961,751
                                          273,280        255,574      345,782         339,342        251,733        239,988         253,077        266,883       335,650       277,503         349,050        229,010       3,416,870      3,416,870
Operating Expenses
  Rent                                     25,041         25,041        22,910         25,041         25,041          25,041          27,732        27,732        28,528        28,528           28,528        29,518        318,678         318,678
  Utilities                                  4,262         4,516         4,514          4,528          4,102           4,713           5,869         §,308         §,704         4,455            3,262          3,455         54,689         54,689
  Security Expense                              126          126           126            126            206             207             126           188           133           183              133            233          1,913           1,913
  Repairs and Maintenance                    4,175         1,709           724          2,169          1,347           5,727           1,691         2,433         2,291         1,170              860          4,920        26,217          26,217
  Liability Insurance                       21,801        20,227        18,923         21,833         22,363          22,615          25,863        21,567        17,384        10,522           18,350          8,158       229,605         229,605
  Telephone,Cell, Internet                       14        2,516         4,215          3,068          2,917           3,026           3,006         3,109         3,775         3,107            3,219          3,015        34,986          34,986
  Meals and Entertainment                    2,141         4,294         2,023          2,636           7,392          8,829           5,094         4,786         6,382           243            1,830          1,833         47,483         47,483
  Minor Tools Equipment                        615           615             76             76            76               76              76           76            76            76               76             76           1,986          1,986
  Training, CE, PD                           1,125           115           650               oO          400                 0            410        2,000         1,390              0                0          444            6,234          6,234
  Recruiting Expense                              0             0              0              0             0                0             1           150             15             0                0              0            176            176
  Expenses - Other                           2,793         5,666         9,816          6,594          4,109           1,648           8,133         6,785         2,888         7,460            6,379       377,639         439,911        439,911
                                            62,093        64,825        63,977         66,071         67,953          71,882          77,711        74,134        68,566        55,744           62,637       426,291       4,161,877      1,161,878
G &A Expense
  Dues and Subscriptions                    15,088        11,958        11,462         11,050           8,484         10,986           9,639        10,339        11,299        12,712           11,720         11,535        136,272        136,272
  Licenses and Permits                       1,508        17,207        41,748         15,826         16,592                270           270          520            244          269               244           244         64,941         64,941
  Postage and Delivery                         109             40          246              74            58               75             47           153            81           508                46           102           1,510          1,510
  Professional Fees                         24,452        12,373        41,566         35,701         15,406          21,421          12,378        12,190        37,833        20,080           (2,147)        26,675        227,929        227,929
  Office Supplies & Equipment                2,669         3,485         4,580          3,026           2,808          2,101           3,366         2,385         7,421          (178)           2,289          2,569         36,582         36,582
  Marketing, Advertising Promotions              i)          259         1,635               0            377            750           1,076              0             0             Go            124              1)          4,222         4,222
  Bank Services Charges                      2,520         1,683         1,613          1,828           2,073          2,095           1,807         1,710         1,562         1,871            3,769          2,029         24,560         24,560
  Bad Debt Expense                           3,231         3,432        18,676          5,074           2,712          2,201           2,479         2,826         6,074        11,818            5,670          5,243         69,432         69,432
  State, Local Tax Expense                  10,934         4,623        35,755         13,437         20,304            (301)         44,493         7,803       (65,012)        1,658           13,737            989         88,419         88,419
                                            60,511        55,030        97,281         86,013         68,814          39,598          75,555        37,926          (498)       48,798           35,452         49,386        653,866        653,867
Total Expense                             395,884        375,429       507,040        491,426        388,500        351,468          406,343       378,943       403,718       382,045         447,139        704,687       §,232,614      §,232,615

EBITDA                                   (316,250)     (233,940)       691,976        239,816       (288,902)          2,021       (299,594)        16,964       428,402        99,633         498,678          86,368        925,178        925,176
  Depreciation, Amortization               (7,887)        (7,195)       (7,999)        (7,847)        (8,962)         (7,741)         (8,154)       (7,847)       (7,728)       (6,962)          (6,517)       (6,805)       (91,646)       (91,646)
Other income and Expense
   Other Income                                  37          689        10,414             195          1,933              17            214         7,428             26           385             117         20,641         41,797         41,797
   Interest Expense                            (49)          718          (116)           (49)            (49)           {49)            (49)          (49)         (127)       (3,571)           3,474           (206)          (119)          (119)
Net Income                                                             693.975        232,115       295,980)          5,752         307,583         16 496       420,573        89.485         495,752          99.998        875.210        875,208




                                                                                                                   1 of 1                                                                                                                   Confidential
                                                                 Z New Genesis Networks Telcom Services, LLC
                                 Case 24-33835-mvl7 Doc 141-3                Filed Income
                                                                         Year-to-Date 02/03/25
                                                                                             Statement    Entered 02/03/25 17:46:43 Desc
                         Exhibit EXH G-10 - Genesis Networks Telecom
                                                         For the                    Services
                                                                  Twelve Months Ending                 LLC
                                                                                       Saturday, December  31, 2016
                                                                                                               Income Statements (201 Page 7 of 14

                                        Jan, 2016         Feb, 2016        Mar,2016        _Apr,2016      May, 2016       _ Jun, 2016       Jul, 2016      Aug, 2016       Sep,2016           Oct,2016          Nov,2016       Dec, 2016        Total            YTD
Revenue
   Services                              1,238,777.       2,174,919.       2,964,883.      2,965,997.     2,440,983.        3,064,438.      1,427,268.     2,431,338.      2,678,050.         1,792,947.          960,065.     1,290,934.     25,430,599.     25,430,599.
   Income Other
Total Revenue                            1,238,777.       2,174,919,       2,964,883.      2,965,997.     2,440,983.        3,064,438.      1,427,268.     2,431,338.      2,678,050.         1,792,947.          960,065.     1,290,934.     25,430,599.     25,430,599.

Cost of Goods Sold
   Production COGS-Other                   987,974         1,621,173        2,261,280       2,258,460      1,734,794         2,318,715         954,926      1,886,135       1,655,761       __- 1,283,737         824,892         684,262     18,472,109     _—- 18,472,109
Cost of Goods Sold                         987,974         1,621,173        2,261,280       2,258,460      1,734,794         2,318,715         984,926      1,886,135       1,655,761           1,283,737         824,892         684,262     18,472,109         18,472,109

Gross Profit                               250,803           553,746         703,603          707,537        706,189           745,723         472,342        545,203       1,022,289           509,210           135,173         606,672      6,958,489        6,958,490

Expenses
 Employee Expense
   Net Salaries                            255,730           230,590         192,696          209,670        205,417           327,240         245,488        252,680          48,016           263,016           275,854         350,828       2,857,223       2,857,223
   Bonuses and Commissions                  56,030            63,030         137,179          132,263         97,588           115,914          64,540         64,558         140,892            60,837                  0        (33,631)        899,199         899,199
                                           311,760           293,620         329,875          341,933        303,005           443,154         310,028        317,238         188,908           323,853           275,854         317,197       3,756,422       3,756,422
Operating Expenses
  Rent                                       28,528           28,528           15,507          28,528         28,528             28,528         28,528         28,528          28,528             26,111            26,111         28,092         324,045          324,045
  Utilities                                   2,846            2,766            3,158           3,117          3,571              4,196          4,613                 7        6,169              4,460             1,130             807         36,840           36,840
  Security Expense                              133              133              133              133           133                 183            433            190             757                680              197           1,299          4,103             4,103
   Repairs and Maintenance                      756            1,374              912           1,174          1,432              2,283           1,539          1,070          3,944               1,758              826           1,315         18,383           18,383
   Liability insurance                       20,630           20,897           19,562          20,021         20,920             20,982         25,861         18,258          21,968             20,558            27,315         24,908         261,880          261,880
  Telephone,Cell,Intemet                      3,016            3,248            2,680           2,824          3,843              2,836          3,036           3,572         18,445              9,291             9,544         (9,236)         53,098           53,098
   Meals and Entertainment                    1,283              201            1,177           3,228            830               1,760          1,202          5,473           1,497                753            5,500           2,916         25,820           25,820
   Minor Tools Equipment                          76               76               76              76             76                 76             76              76             76                 76                76             76            909               909
  Training, CE, PD                              126              114                  0          1,065               0               185               0         7,185           1,100                495                  0              0        10,268            10,268
   Recruiting Expense                              0           9,167            9,167           9,167         17,500                    0              0       12,500         200,587                    0                 0              0       258,088          258,088
   Expenses - Other                           6,492            9,028            6,063           3,171         13,052              7,637         14,011           9,421         10,701               §,102            8,163           9,758        102,602          102,602
                                             63,885           76,532           §8,435          72,504         89,885             68,666         78,999         88,280         293,772             69,284            78,862         59,935       1,096,037        1,096,036
G &    AExpense
  Dues and Subscriptions                    10,919            11,979           17,513           6,359           4,814            3,444           4,148          5,075          11,099               4,397             3,686         4,616          88,048          88,048
  Licenses and Permits                          119               147              613             119          3,731              258             119             119             119                119               200            119          §,783            5,783
  Postage and Delivery                          118                64                89            446              52               47            197              64              33                  69               60            239           1,479           1,479
  Professional Fees                         17,865            31,022           34,232          26,290          29,206           26,484          14,222         11,806          17,855             26,583            32,165         10,997         278,726         278,726
  Office Supplies & Equipment                2,261              3,126          17,867           2,893           3,459            3,665           2,699          3,793            2,793              1,647             2,432         3,406          50,042          50,042
  Marketing, Advertising Promotions               i?)                0           2,300             460                0          4,225           4,375          6,733            4,718              4,284               338         2,321          29,753          29,753
  Bank Services Charges                      8,394              8,006            1,381           1,905          1,411            2,919               63          1,391           1,311              1,331             1,945          1,562         31,608          31,608
  Bad Debt Expense                            2,752             5,782            7,363          5,960           7,123            7,497           4,428          6,350            6,630                   0            5,427         5,970          65,283          65,283
  Donations and Contributions                     i?)                0                 0              0               0                0               0              0                0                  0           2,750               0          2,750           2,750
  State, Local Tax Expense                      315           (7,871)              564         61,397        (25,991)            8,615             316             387         11,532             (1,236)           17,494              50         65,573          65,573
                                            42,743            52,255           81,922         105,829          23,805           57,154          30,567         35,718          56,090             37,194            66,467         29,270         619,045         619,045
Total Expense                              418,388           421,407          470,232         §20,266        416,695           568,974         419,594        439,236         538,770            430,331           421,213        406,402       5,471,504       5,471,503

EBITDA                                    (167,585)          132,339          233,371         187,271        289,494           176,749          52,748        105,967         483,519             78,879         (286,040)        200,270       1,486,986        1,486,987

  Depreciation, Amortization                        (0)                0       (6,995)         (4,713)        (6,498)            (8,278)        (4,995)        (5,443)                  0         (5,590)           (8,694)        (6,059)       (51,264)         (81,264)
Other Income and Expense
   Other Income                                697                144           (131)             450          1,253             1,717           9,023              20                1           27,891                 24             84         41,175           41,175
   Franchise Taxes                                 0                 0               0                0      (6,729)                  0                0             ie)              0                   10)              0              0        (6,729)          (6,729)
   interest Expense                            (49)              (49)           (284)             (49)           (49)              (49)           (448)           (74)           (129)                (49)             (49)          (210)         (1,485)          (1,485)
Net Income                            __(166,937)            132,434         225,961          182,959      277,471             173,139          56,328        100,470         483,391            101,131__       (291,759)        194.085       1,488,683        1,468,684




                                                                                                                              1 of 1                                                                                                                             Confidential
                                                                     Z New Genesis Networks Telcom Services, LLC
                                     Case 24-33835-mvl7 Doc 141-3                Filed 02/03/25 Entered 02/03/25 17:46:43 Desc
                                                                             Year-to-Date Income Statement
                             Exhibit EXH G-10 - Genesis Networks
                                                              For theTelecom            Services
                                                                       Twelve Months Ending  Sunday, DecemberLLC
                                                                                                              31, 2017Income Statements (201 Page 8 of 14

                                                                              Mar,2017_         Apr,2017_        May, 2017         Jun, 2017        Jul, 2017            Aug, 2017         Sep, 2017         Oct, 2017__—      Nov, 2017        Dec, 2017           Total            YTD
                                         Jan, 2017         Feb, 2017
Revenue
                                                           2,234,482.         1,363,985.          944,962.       1,020,395.        1,378,154.        1,454,431.           1,488,771.       2,308,218.        1,904,802.         1,298,307.      1,387,590.        17,685,978.      17,685,978.
    Services                               901,882.
                                                                    0.                 0.                0.               0.                0.                0.                   0.               0.                0.              866.           (866.)                 0.               0.
    Accrued /Unbilled Revenue                     0.
    income Other
                                           901,882.        2,234,482.         1,363,985.          944.962.       1,020,395.        1,370,154.        1,454,431.           1,488,771.       2,308,218.         1,904,802.        1,299,173.      1,386,724.        17,685,978.      17,685,978.
Total Revenue

Cost of Goods Sold
                                                   0                te)                 0                  0                0                 0               0                    0                 0          234,378            266,173         219,608           720,159          720,159
   Production COGS-Labor
                                            660,700         1,323,022            826,614           626,185          716,393           640,217        1,090,520            1,133,572         1,867,697           905,625            719,621         700,775        11,210,940       11,210,940
   Production COGS-Other
                                                  ()                te)                 0                 ie}              ie}                0               e}                  ie}                0           78,415             55,543          42,299           176,257          476,257
   Production COGS-Materials
                                            660,700         1,323,022            826,614           626,185          716,393           640,217.       1,090,520            1,133,572         1,867,697         1,218,418        = 1,041,337         962,682        12,107,355       12,107,356
Cost of Goods Sold

                                            241,182           911,460            537,371           318,777          304,002           737,937          363,911              355,199           440,521            686,384          257,836          424,042          §,578,622        §,578,622
Gross Profit
                                                                 0.0%               0.0%              0.0%             0.0%            400.0%             0.0%                 0.0%              0.0%               0.0%             0.0%             0.0%             100.0%             0.0%
Gross Margin                                   0.0%

Expenses
 Employee Expense
                                            219,755           284,007            250,188           271,063          253,367           237,860           254,291              249,959          250,081            270,850          289,964          230,236          3,061,621        3,061,621
   Net Salaries
                                                   0                  0                 0                  0                0                 0                   0                  0                   0          4,421            4,421            4,421             13,263           13,263
   Temporary Staffing
                                                   0                  0                 0                  0                0                 0                  ie]                 0                   0       (34,169)         (39,580)         (28,914)         (102,663)        (102,663)
   Applied Overheads
                                             35,740            92,697             57,775            52,031           47,759            79,156               35,589            30,411           64,351              79,148           43,056           48,648           666,361          666,361
   Bonuses and Commissions
                                                   0                  0                 0                  0                0                te)                  0                 i)               0             15,028           16,853           12,684            44,565            44,565
   Payroll Taxes
                                                   0                 te)                0                  0                0                 0                   0                  0               0             11,669           16,489            5,428             33,586           33,586
   Health, Vision, Life Insurance
                                                   0                  0                 0                 ta)               0                 0                   0                  0               0               1,847             893             1,173             3,914            3,914
   Payroll Processing Fee
                                                   0                  0                 0                  0               ty)               ie]                  0                  0              ie)                 85              36                54               175              175
   401K Related
                                            255,495           376,704            307,963           323,094          301,126           317,016              289,880           280,370          314,432            348,879          332,132          273,730          3,720,822        3,720,822
 Operating Expenses
                                              27,068            27,068             31,242           44,947            31,242            31,242              34,242            31,242            31,242             41,137           41,137           41,137           409,945          409,945
    Rent
                                                  397               397               553             1,032               421               $00                 421               421               421             4,292            4,442             3,864            17,559           17,559
    Utilities
                                               4,259                 56                 56               56               675               106                  56                56                 56               142              142              142             2,803            2,803
    Security Expense
                                                1,313             1,326            412,594            9,374               748               927                648                889               846              4,575           2,271             1,141            33,651           33,651
    Repairs and Maintenance
                                              21,699            21,739             21,319            19,447           19,946            24,668              24,413            23,936            20,776             23,942           27,067           29,304           278,256           278,256
    Liability Insurance
    Telephone,   Cell Internet                 3,348             3,121           (10,611)             3,178             1,479            4,489               3,647             5,444             5,973             10,544             9,991            9,233            49,836           49,836
    Travel Expense                                   to)               0                   0                9)                0                0                    0                 0                 0                 0             936            1,944             2,880            2,880
    Meals and Entertainment                     (382)             1,049                691            4,296             1,416             1,899                 833            2,297            17,375                 220            2,159              395            32,248           32,248
   Minor Tools Equipment                            76               76                 76                76                76                76                  76                76                76                76                76               76              909              g09
   Training, CE, PD                                   Q               0)                   0          4,988             1,284                  0              1,590                   0           1,205                140            9,727                  1)         18,934           18,934
   Leased Equipment                                   0                0                  (0)              19)               ie)                0                  9)                 0                 0              318              318              318               954               954
   Recruiting Expense                                (0)                0                  9]        16,560                   9]                0                   9)                0         11,600               1,750            2,337            2,026            34,273           34,273
   Background Checks                                  0                 0                  0                0                 0                 0                   0                 0                 0                  0             56                  0               56               56
   Expenses - Other                             6,374             3,701          255,838              3,274             8,590          244,512                9,051             6,555           11,781               3,829            9,953           12,833           576,292          576,292
                                              61,152            58,533            311,758           107,228           65,877           308,819              71,977            70,916           101,351             87,965          110,612          102,413          1,458,595        1,458,596
 G &A Expense
   Dues and Subscri                             §,220            6,908              8,131              6,004          10,830              4,853              6,929              5,545            5,545              6,535            5,425            5,425             77,350           77,350
   Licenses and Permits                             76             156                 261               360             360                360                 253               253              253                 468              241            1,031              4,058           4,058
    Postage and Delivery                            72             312                 150                 83          1,189                 94                 188                77                44                104              118              258              2,690           2,690
    Professional Fees                          11,550           19,609             22,608             16,741           3,703             19,626             49,956             10,457           20,320             14,561            8,073          160,756            357,959          357,959
    Office Supplies & Equipment                 3,913            2,022              3,393              2,245           3,000              2,012              2,551              2,295            2,012              3,189            2,286            2,140             31,057           31,057
    Marketing, Advertising Promotions           41,709           1,244                 380             3,185               70             1,986                    0                ie)                0                  0             400              519              9,493            9,493
    Bank Services Charges                       1,111            1,287               1,184             4,184            1,960             1,484               4,132             1,279            2,706               1,750            1,376            4,102             17,520          17,520
    Bad Debt Expense                            2,716            7,253              2,368              2,545           5,607              2,328              4,838              3,722            5,681              4,627             1,254           2,614              46,552          45,552
    Donations and Contributions                       0                0                   0                 0               0                 0                   0                 0           2,584                    0                 0                0            2,584            2,584
    Employee Benefits/Relations                       0                0                   0                 0               0                  0                  0                 0                 0            2,603               625              661              3,889            3,889
    State, Local Tax Expense                      260                71                413              1,017           3,986                   0            4,640             14,428           14,614             20,916           25,708           26,290            112,240          112,240
                                               26,625           38,862             38,855             33,361          30,705             32,743             70,487            38,056            53,656             64,743           45,506          200,796           664,393           664,392
 Total Expense                               343,272           474,099            658,576           463,683          397,708           658,578             432,344           389,342           469,439            491,587          488,250          576,939          5,843,810        §,843,810

 EBITDA                                     (102,090)          437,361           (121,205)        (144,906)          (93,706)            79,359            (68,433)           (34,143)         (28,918)            194,797        (230,414)        (152,897)         (265,187)        (265,188)

   Depreciation, Amortization                 (5,973)                     0       (11,565)            (5,744)          (6,569)           (5,470)             (5,995)           (5,831)          (5,577)           (12,234)         (11,934)         (12,591)           (89,483)         (89,483)
 Other Income and Expense
    Other income                                   118               49      7,540        (5,379)      §,300   208,634                                          355                207                 4            13,662         (234)        5,316                  235,571          235,571
    Franchise Taxes                                   0                0          0              0   (5,215)             0                                         0                   0               0                  0             0            0                   (5,215)          (6,215)
    Interest Expense                           (2,244)          (2,244)    (3,273)       (1,983)     (1,842)      (294)                                     (5,903)                (49)         (7,391)              1,504         (978)      (6,775)                  (31,171)         (31,171)
 Net income                                 (110,189)          435,166 __ (128,503) __ (158.012) _ (101,732) _      282,229                                (79,976)           (39,816)         (41,882)            197,729 __ (243,560) __ (166,947)                  (155,486)        (155,486)




                                                                                                                                                    1of1                                                                                                                                            Confidentiat
                                                                    Z New Genesis Networks Telcom Services, LLC
                                    Case 24-33835-mvl7 Doc 141-3                FiledIncome
                                                                            Year-to-Date  02/03/25
                                                                                               Statement      Entered 02/03/25 17:46:43 Desc
                                                             For the  Twelve Months Ending Monday, December  31, 2018
                            Exhibit EXH G-10 - Genesis Networks Telecom                Services            LLC      Income Statements (201 Page 9 of 14

                                        Jan, 2018        Feb, 2018       Mar, 2018        Apr, 2018        May, 2018       —_ Jun, 2018            Jul,2018        Aug, 2018         Sep, 2018         Oct, 2018       Nov, 2018       Dec, 2018          Total          YTD
Revenue
    Services                             1,284,476.      1,109,369.      1,310,821.       1,028,032.       1,075,976.         1,067,660.           1,620,662.      1,566,779.         1,682,379.       1,422,851.      1,087,552.       1,177,971.      15,434,528.    15,434,528.
    Income Other
    Reimbursed Expenses                        437.               0.              0.               0.               0.                 0.                   0.               0.                0.               O.              0.               0.             437.           437.
Total Revenue                            1,284,913.      1,109,369.      1,310,821.       1,028,032.       1,075,976.         1,067,660.           1,620,662.       1,566,779.        1,682,379.       1,422,851.      1,087,552.       1,177,971.      15,434,964.    15,434,965.

Cost of Goods Sold
   Production COGS-Labor                    245,751         223,075         205,776          133,137             9,601            2,257                74,378          85,094             90,443           92,642          80,840         132,900        1,375,893       1,375,893
   Production COGS-Other                    731,210         516,423         590,540          384,879          822,951           711,872             1,106,033.      1,000,514        = 1,052,663          925,148         775,072         793,483        9,410,789       9,410,789
   Production COGS-Materials                 75,409          50,034          63,578          115,127           17,641           139,571                67,977          58,434             38,824           42,625          43,807                e)        713,028         713,028
Cost of Goods Sold                        1,052,370         789,532         859,894          633,143          850,193           853,700             1,248,388       1,144,042          1,181,930        1,060,415         899,719         926,363       11,499,709      11,499,710

Gross Profit                                232,643         319,837         450,927          394,889          225,783           213,960               372,274         422,737           500,449          362,436          187,833          251,588        3,935,255      3,935,255

Expenses
 Employee Expense
   Net Salaries                            307,782          233,036         250,620          232,871          186,883            165,895              177,633         196,730           191,937           178,556         192,063          230,256        2,544,201      2,544,201
   Temporary Staffing                         5,290            6,418           9,137           41,325           4,421              4,421                    it)               0                 0               ie              ie)               0          41,011          41,014
   Applied Overheads                       (34,866)         (31,309)        (28,677)         (18, 180)           {188}                   0                    0               0                 0               i?)             if)              ie)      (113,221)       (113,221)
   Bonuses and Commissions                   41,912           38,106          45,698           35,974          13,989               1,270              25,539          33,873            19,561            10,467          26,499            9,718          302,607         302,607
   Payroll Taxes                             28,349           21,131          17,789           10,616                 0                 ie                    0               0                 0                0                0              if)         77 884          77,884
   Health, Vision, Life Insurance             8,833           20,021           8,640             6,069                0                 ie)                  i?)             ie)                0                0                0               0          43,564          43,564
   Payroll Processing Fee                     1,153               415            960               110               i)                 ie)                  i?)             ie                 0               ie                0               0            2,339          2,339
   401K Related                                    i*)               0           111                 i*)              0                 ie}                  i?)           114                  0               ie               Qo              i)              226            226
                                           358,453          287,518         304,278          278,725          205,105            171,586              203,172         230,717           211,498           189,023         218,562          239,974        2,898,610      2,898,611
Operating Expenses
  Rent                                       32,362          41,006          46,691            41,311          42,676             41,311               41,888           44,015            46,015           43,460          45,460           49,813          $15,010        516,010
  Utilities                                   3,934           5,101            3,509            5,958           6,594              5,436                8,428           12,015             7,515            4,815           8,780            4,668           76,751         76,751
  Security Expense                               142            402              250               171            150                 150                 100               182               100              100            100              502            2,346          2,346
  Repairs and Maintenance                     1,539           2,761            4,203            2,613           8,716              4,278                2,405             3,201            2,488            2,314           2,449            4,161           41,129         41,129
  Liability Insurance                        26,735          19,318          22,004            19,714          18,125             23,400               33,119           35,491            26,591           31,722          30,100           29,947          316,266        316,266
  Workers Comp Insurance                           (0)              0            386               292                0                 (e)                  0                 (0)              (e)               0               0               (0)            678            678
  Telephone, Cell,Intemet                    10,042           9,825            9,763            7,041           7,526             11,974               12,283           11,826            11,750           11,847          11,554            9,578          125,005        426,005
  Travel Expense                              §,749           2,884            6,576           12,549                 0                  0                   0                 (0)                e}             te)              0                0         27,758         27,758
  Meals and Entertainment                     3,524           3,160            5,646            3,308           2,973               3,063               3,197                 80            1,073           2,652           2,219            3,485           34,379         34,379
   Minor Tools Equipment                          76              76               76              106             151                161                 161               151               151              151            151               554            1,947          1,947
   Training, CE, PD                                 0               0          2,962               295                0                  0                  (0)           1,700                   0          1,790               (0)               0          6,747          6,747
   Leased Equipment                                 0           206              151                46                0                  0                   0                  0                 0               0               0                0             403            403
   Recruiting Expense                          1,750            204                 to)            272                0                  0                  (0)             239               483          21,215               27            1,752          25,942         25,942
   Expenses - Other                           6,115           6,696            4,342             1,333            858             36,883                2,624             7,794           10,068           10,794          31,516           40,732          159,755        159,755
                                             91,968          91,639         106,559            95,008          87,769            126,646              104,195          116,694           106,234          130,860         132,353          445,192        1,334,116      1,334,116
 G & A Expense
   Dues and Subscriptions                     2,661            1,772           1,933           2,043             1,926             1,927                2,003            2,003             3,560             2,781          2,451            2,787           27,845         27,845
   Licenses and Permits                        1,031           1,131         12,468              805             1,145               975                  975               975            1,141               897             897           3,646           26,086         26,086
   Postage and Delivery                          294             214             207              373           7,876                 24                    12                72             101               362             155              395          10,086         10,086
   Professional Fees                         14,044          14,291          12,335           11,360           37,395              8,194                9,680           27,100           30,671            44,765          31,300           37,322          278,457        278,457
   Office Supplies & Equipment                2,220            1,482           2,579           2,359            4,105              3,136                3,125             4,700            4,320             3,887          2,448             5,634          39,996         39,996
   Marketing, Advertising Promotions           3,688          §,213           4,400            2,905             3,300             2,200                  326               116                  0                 0            94              200          22,442         22,442
   Bank Services Charges                      2,149           2,072            1,524            1,905            5,189             5,271                4,643             6,633            1,844             6,377           3,576           2,223           43,405         43,405
   Bad Debt Expense                           2,105           2,899            2,378            1,727            1,183             4,198                4,055             4,211           20,899             3,887          2,770            2,760           53,071         §3,071
   Donations and Contributions                       0               0              0                0                0                  e)                   0                ie)         1,500                   0              0                0           1,500          1,500
   Employee Benefits/Relations                   §89                 0              0                0                0                77                     0                 0                0                 0              0                0            666             666
   State, Local Tax Expense                    3,213          5,997            4,911            5,469            1,535             1,572                7,513             6,790            7,035             8,629          6,800           12,262           71,717         71,717
                                             31,994          35,071          42,735           28,946           63,654             27,574               32,332           52,600            71,071           71,585          50,491           67,219          575,270        575,271
Total Expense                               482,415         414,228         453,572          402,679          356,528            325,806              339,699          400,011          387,803           391,468         401,406          452,385        4,807,996      4,807,998

EBITDA                                     (249,872)        (94,391)         (2,645)           (7,790)       (130,745)         (111,846)               32,576           22,726           112,646          (29,032)       (213,573)       (200,797)        (872,741)       (872,743)

  Depreciation, Amortization                (12,068)        (11,546)        (13,450)           (6,038)          (5,922)           21,245               (5,461)          (6,663)           (6,919)          (7,086)         (6,873)          (7,068)         (67,850)       (67,850)
Other Income and Expense
   Other Income                                  87                21          1,423            5,389           12,895              (940)                  328             (679)          (1,248)          (2,707)       (4,897)              3,146          12,818          12,818
   Franchise Taxes                                (e)                Q              0                0          (2,142)          (10,086)              (1,700)          (1,700)           (1,700)          (1,700)       (1,700)            (1,700)        (22,398)        (22,398)
   Interest Expense                         (3,247)           (4,440)        {4,044)          (6,258)           (6,856)           (9,064)              (5,744)          (4,707)               191          (6,589)     (10,886)             (7,850)        (69,494)        (69,494)
Net Income                             (265,100)           _(110,356)       (18,716)         (14,697)        __(132,770)       __(110,661)             19,998             8.977          102,970          (47,114) __ (237,929)        _ (244,269)      __(1,019,665)__(1,019.667)




                                                                                                                                          1 of 1                                                                                                                                      Confidential
                                                                      Z New Genesis Networks Telcom Services, LLC
                                     Case 24-33835-mvl7 Doc 141-3                FiledIncome
                                                                             Year-to-Date   02/03/25
                                                                                                 Statement        Entered 02/03/25 17:46:43                                                                                                                   Desc
                            Exhibit EXH G-10 - Genesis Networks    Telecom
                                                              For the                  Services
                                                                       Twelve Months Ending                 LLC
                                                                                            Tuesday, December   31, 2019
                                                                                                                      Income Statements (201                                                                                                                  Page 10 of 14

                                         Jan, 2019        Feb, 2019        Mar,2019        _Apr,2019        May, 2019         Jun, 2019          Jul,2019             Aug, 2019       Sep, 2019         _Oct,2019         Nov,2019          Dec, 2019           Total          YTD
Revenue
    Services                              1,663,189.      1,074,213.       1,270,093.      1,332,022.        1,772,528.       1,203,442.          1,228,851.           1,395,507.      1,409,390.       1,029,878.        1,287,449.        1,247,241.        15,913,804.    15,913,804.
    Accrued /Unbilled Revenue                      0.              0.               0.              0.                0.               0.              3,957.             (1,296.)          (622.)           1,244.          (3,282.}             460.               460.            460.
    Income Other
Total Revenue                             1,663,189.      1,074,213.       1,270,093.      1,332,022.        1,772,528.       1,203,442.          1,232,808.           1,394,211.      1,408,768.       1,031,122,         1 .284,167.      1,247,701.        15,914,264.    15,914,264.

Cost of Goods Sold
   Production COGS-Labor                          i?)              i)                0              i?)                0                 0             207,762            161,053        165,057           220,871            182,613          189,416          1,126,772     1,126,772
   Production COGS-Other                  1,175,214          835,874         930,889        1,133,100         1,404,486          872,128                  1,577             5,245           1,100             2,133              1,267            4,110         6,364,123     6,364,123
   Production COGS-Materials                       0                e}              to)              0                i)                ie}            661,297            870,043        811,596           624,374            828,448          752,027          4,547,785     4,547,785
Cost of Goods Sold                        4,175,214          835,874         930,889        1,133,100         1,404,486          872,128               870,636        = 1,036,341        977,753           847,378        = 1,012,328          942,553         12,038,680    12,038,680

Gross Profit                                487,975          238,339          339,204         198,922          368,042           331,314               362,172           357,870         431,015           183,744           271,839           305,148          3,875,584      3,875,584

Expenses
 Employee Expense
   Net Salaries                              210,415         201,432          160,121         162,193           165,669          161,507                90,019           111,036           96,663          112,231           116,104             88,828         1,676,218      1,676,218
   Applied Overheads                                 0              ie)              0                0               (9)               0              (29,285)          (24,972)        (23,639)          (30,200)          (25,436)          (27,925)         (161,457)      (161,457)
   Bonuses and Commissions                    25,368            9,496          27,583           4,465             9,118            8,875                   (962)           29,472            9,477           18,385            17,349            57,603           216,229        216,229
   Payroll Taxes                                9,755                0                0               0                0                0                17,595            16,266           16,670           22,498            19,668            25,250           127,704        127,701
   Heaith, Vision, Life Insurance             (6,228)                0                0               0                0                0                 3,939             8,484            9,666            3,852             6,065            16,429            42,207         42,207
   Payroll Processing Fee                           i?)              0                0               0                0                0                    426              314              285              236               275               656              2,192          2,192
   FMLA Program Admin Fee                            0               0                0               0                9)               0                      to)              (e)               0             312               276                   0              588            588
   401K Related                                      0              (0)              ie}             te)               e}               e}                   619                te)               0                ie}                0                 0              619            619
                                             239,310         210,928          187,704         166,658.          174,787          170,382                 82,351          140,600          109,122           127,314           134,301           160,844         4,904,297      1,904,297
 Operating Expenses
    Rent                                      49,388           49,388          49,227           49,388           49,388             49,388               42,674            42,674          59,629            27,151            26,186            47,719           §12,200        512,200
    Utilities                                  8,699            8,794           8,419            7,720           10,030             10,336                6,543             6,387           7,176             7,257             6,342             4,245            91,947         91,947
    Contract Labor                                  i?)               0              0                 0                0                  0              6,105                   0               0                 0                  o                0           6,105           6,105
    Security Expense                              100           1,940             100               100               93               210                   100               100             100               400                39                 (e)           2,979          2,979
    Repairs and Maintenance                    2,285            3,731           3,198            3,212            4,104              3,434                 1,999            4,199           2,026             4,319             §,771            12,952            §1,229         §1,229
    Liability Insurance                       23,641           24,742          26,337           24,202           23,980             21,079                7,211             7,947           9,634             8,722              1,999            2,839           182,332        182,332
    Workers Comp Insurance                           0                0              0                 0                0                   0                   0                 0            581               §81               581            2,992              4,736          4,736
    Telephone,Cell, Internet                  10,743           10,175          11,949           11,068           11,128             10,992                9,174             6,418          10,376             7,365             8,438             6,933           114,760        114,760
    Travel Expense                                   0                0              0                 0                0                   0              1,557               401          2,872              7,446           11,207             4,659            28,141         28,141
    Meals and Entertainment                       935           2,336           4,903             8,219           2,903              4,541                   373               615            846             2,106             4,621              1,447           33,845         33,845
    Minor Tools Equipment                         151              151            736               151              151                151                     0              303             151               154               615               151             2,865          2,865
    Training, CE, PD                                 0           1,491                0                0                0                   0                   0            1,425                 0                 0                 0                (9)          2,916          2,916
    Recruiting Expense                              i?)              37               0               14              60          :        ie                   0              202               95              431                 71              376               986            986
    Expenses - Other                            3,503            2,187            214             1,046            3,890            21,036                   990               213           1,867               507             3,807                  i)         39,260         39,260
                                              99,445          104,972         105,083          105,120          105,727           121,167                76,726            70,884          95,353            65,836            69,677            54,313         1,074,299      1,074,301
 G & A Expense
   Dues and Subscriptions                      3,023            2,451           5,802            6,242            6,116             5,949                 6,349             5,408           5,952              5,823            5,177             6,964            65,256          65,256
   Licenses and Permits                           618              977            977               881            1,121              949                 5,714             §,099          10,743              4,282            3,988             3,089            38,437          38,437
   Postage and Delivery                            96                12             33              192              358              393                    209                  0                0             445               219             (200)            1,756            1,756
   Professional Fees                          67,918           28,744          27,899           36,474           34,397           35,528                411,048           166,058         143,550            47,010            75,205            90,838          864,667          864,667
   Office Supplies & Equipment                 3,654             1,330          3,409             4,209            5,726            4,037                  1,885              837            1,651             2,564               765            2,185            32,231          32,231
   Marketing, Advertising Promotions                 0                0               0                0                 0               0                   117                  0                0                 0                 0                0              117             4117
   Bank Services Charges                       2,567             1,306            947               792              917              833                    264                75             177               442               294             4,134            9,746            9,746
   Bad Debt Expense                            4,336             2,694          2,960             3,209            4,523            3,244                28,082            25,000          25,000                    0                te)         6,635           105,683         105,683
   Employee Benefits/Relations                       0                 0              0                 0                9)              0                       0            939                  0                 0                 0             266             1,206           1,206
   State, Local Tax Expense                     1,239              602          7,156             5,260            3,557            2,955                        0          3,000            3,060           (5,047)             1,931             4,901           28,554          28,554
    Miscellaneous Expense                           ie]                0             ie]                0               ie]              0                      ie]               0               ie]               ie]               ie}             45                45               45
                                              83,451           38,116          49,183           57,259           56,715            53,888               153,668           206,416         190,073            55,519            87,579           115,837         1,147,698       1,147,698
 Total Expense                               422,206          364,016         341,970          329,037          337,229          345,437                312,745           417,900         394,548           248,669           291,557           330,991         4,126,294       4,126,296

 EBITDA                                        65,769       (115,677)           (2,766)    — (130,115)            30,813          (14,123)               49,427           (60,030)          36,467          (64,925)          (19,718)          (25,843)         (250,709)      (250,712)

   Depreciation, Amortization                  (6,819)         (5,886)          (7,589)         (6,571)           (6,784)          (6,521)               (6,521)            (6,849)         (5,477)          (5,836)            (5,614)          (5,179)          (75,647)        (75,647)
 Other Income and Expense
    Other Expenses                                    0            0                  0                0                 0        (16,667)              (16,667)          (16,667)        (16,667)          (16,667)    (16,667)                (10,920)         (110,920)      (110,920)
    Other Income                               (4,679)      (6,430)            (3,865)        (16,755)            (7,857)          (7,010)               (6,654)           (4,650)         (1,036)                  4              1                    1         (88,935)       (58,935)
    Franchise Taxes                                   Q            0                  0          7,387            (7,870)                 0              {1,700}                  0         14,857                  0      (624)                       ie)          12,049         12,049
    interest Expense                             (549)        1,500                (97)                0                 0        _(6,353)               (7,334)           (7,684)        (10,750)            (8,929)   (13,094)                (11,853)          (65,142)       (65,142)
 Net Income                                    53,722 __ (126,493)            (14,317)       _(146,054)             8,302         (50,674)                40,551          (95,880)          17,394          (96,356) __     (55,716)            (53,794)         (549,305)      (549,307)




                                                                                                                                                10f1                                                                                                                                          Confidential
                                                                     Z New Genesis Networks Telcom Services, LLC
                                     Case 24-33835-mvl7 Doc 141-3                FiledIncome
                                                                             Year-to-Date  02/03/25
                                                                                                Statement       Entered 02/03/25 17:46:43                                                                                                       Desc
                                                                      Twelve Months Ending Thursday, December  31, 2020
                            Exhibit EXH G-10 - Genesis Networks Telecom
                                                             For the                   Services            LLC      Income Statements (201                                                                                                      Page 11 of 14

                                         Jan, 2020         Feb, 2020        Mar,2020         Apr, 2020        May, 2020       Jun, 2020       — Jul, 2020.       ~— Aug, 2020       Sep, 2020       — Oct, 2020__—      Nov, 2020      Dec, 2020             Total            YTD
Revenue
    Services                              1,076,495.         789,416.       1,045,775.       1,018,996.         988,760.      1,719,386.         1,423,402.         1,557,888.        903,221.         1,704,863.       1,478,330.       2,038,283.         15,744,817.      15,744,817.
    Accrued /Unbilled Revenue                  (460.)               0.               0.        134,901.         373,213.       (192,855.)          (92,586.)         (155,704.)       351,840.          (370,655.)         17,401,            4,393.            69,487.          69,487.
    Income Other
Total Revenue                             1,076,035.         789,416.       1,045,775.       1,153,897.       1,361,973.      1,526,531.         1,330,816.         1,402,184.       1,255,061.        1,334,208.       1,495,731.       2,042,676.         15,814,304.      15,814,304,

Cost of Goods Sold
   Production COGS-Labor                    236,885          205,347          200,856           277,517          249,667         224,586            304,876            248,806         299,429            254,790          232,136          272,274           3,007,168        3,007,168
   Production COGS-Other                        436             2,926           4,003              2,495             709            5,955            15,344              4,457            9,688              5,992          15,253           44,408             114,665          111,665
   Production COGS-Materials                650,608          379,005          621,376           732,162         889,616         964,122             655,347            793,100         640,911            922,335          989,652        1,535,757           9,773,991        9,773,991
Cost of Goods Sold                          887,929          587,278          826,235         1,012,174        1,139,992       1,194,663            975,567          1,046,363         960,028          1,183,117        1,237,041        1,852,439          12,892,825       12,892,824

Gross Profit                                 188,106          202,138          219,540          141,723          221,981         331,868            355,249            365,821         305,033             151,091         258,690          190,237           2,921,479        2,921,480

Expenses
 Employee Expense
   Net Salaries                             100,424           206,615         159,670           206,143          182,001         139,443           189,414             148,110         184,321            186,845          189,416          251,742           2,144,143        2,144,143
   Applied Overheads                        (36,281)          (27,989)        (30,267)          (39,751)         (35,526)        (31,891)          (43,588)            (33,783)        (39,516)           (33,686)         (31,965)         (34,840)           (419,084)       (419,084)
   Bonuses and Commissions                    25,750            21,772          28,458            14,058           13,783           4,806             6,691               4,354           4,252              8,959            5,791            8,611             147,285         147,285
   Payroll Taxes                              36,982           46,323           37,600            32,736           23,723          24,319            32,789              24,574         30,800              28,203          26,908            36,352             381,308         381,308
   Health, Vision, Life Insurance               9,088           10,770          10,750            26,289           31,321         56,367             39,640              43,891          39,873             37,380           38,560           49,937             393,867         393,867
   Payroll Processing Fee                         293             1,060            389              1,131             497            1,924              501                 585             593                 706             491              783                8,954           8,954
   FMLA Program Admin Fee                           i)                (¢)            ie}                  0               Q               0                ie]                  9              0              1,092             168                  0              1,260           1,260
                                             136,256          258,551         206,600           240,606          215,799         194,968           225,447             187,731         220,323            229,499          229,369          312,585           2,657,733        2,657,733
 Operating Expenses
   Rent                                       23,741            24,021          37,087            45,770           51,756         50,263             52,033             50,263           $9,735             60,145          37,701            31,123             523,637         523,637
   Utilities                                   8,188            10,580          (1,529)            2,858            4,661          4,310              6,176               5,827          10,387              7,955           9,266             8,629              77,278          77,278
   Security Expense                                  te)            525                0                 i]               0             i]                 0                    0               0                  0               a             471                  996             996
   Repairs and Maintenance                     4,575             2,010            1,923            4,731            6,409          8,091              2,416               3,456            1,959             6,301          30,012             9,926              81,808          81,808
   Liability Insurance                          1,999             1,999           1,454             1,141           1,367           1,140             1,140               1,140          11,109              4,028           3,759             3,759              34,032          34,032
   Workers Comp Insurance                         581               581           8,780         (12,075)            2,473                 0           4,141               4,144          (5,652)             6,888           6,888             6,888              23,634          23,634
   Telephone,    Cell, Intemet                 6,574            16,106            8,941            9,299            9,138          9,755              7,847              12,019            6,865             9,887           9,049            20,488             124,968         124,968
   Travel Expense                               9,951           14,851           18,369            2,436              589           1,911             2,837               3,002            4,840              §,825          6,894            10,235              81,741          81,741
   Meals and Entertainment                      3,678             2,097           2,289             1,920                 0           666             1,471                     0            438              3,024           1,594            2,015               19,192         19,192
   Minor Tools Equipment                           151              611                 0               76            492                i)             898                     0               0                 10;              0                i)              2,028           2,028
   Training, CE, PD                               643                   0               0                 0               0               0                 0                   0               0                 ie)              0                 0                643             643
   Recruiting Expense                           1,052               148                 0                 0             §3            463                   3               206              367              1,320           1,236                72               4,921           4,921
                                              61,103            72,529          77,314            56,156           76,938         76,599             78,762             80,054           90,048            105,373         106,399            93,606             974,877         974,878
 G & A Expense
   Dues and Subscriptions                      6,650             7,583            3,057           4,071           13,321           6,937              4,799               §,999           7,474              4,340           8,363           11,035              83,619           83,619
   Licenses and Permits                        2,985             2,985            2,880           3,124            7,755          11,062              1,291                 776          14,237              5,886           5,386               345             58,710           58,710
   Postage and Delivery                          125               293                 ie)            21              165               0                  19                39               97                378              38              495               1,670            1,670
   Professional Fees                          65,091           80,688           36,247          101,256          114,348         112,406             45,568             31,343           44,887             32,381          89,795           46,438             800,446          800,446
   Office Supplies & Equipment                 2,707             1,814            5,526             520             1,126            930               1,284              1,863           2,246              2,699             978             2,721             24,413           24,413
   Marketing, Advertising Promotions                 0               80               80              80                 0              0                    0                 0                0                  0               0                 0               240              240
   Bank Services Charges                         423               319              552             530               448            494                 406                383              350                482            428               366               5,182           5,182
   Bad Debt Expense                                 is]                0          4,719                 0               ie)        3,000                     0                ie)        19,869                    0        16,000             7,256             50,843           50,843
   Emptoyee Benefits/Relations                11,361             1,394              365             460               293            292                  50                194            1,045              1,528             183              422             17,584           17,584
   State, Local Tax Expense                      300               300            5,842             300               300            300                    te)                0                0                  0               0                te)            7,342           7,342
   Property Taxes                                    0             242                  0               0                0              0                    0                 0                0                  0               0                te]              242              242
   Miscellaneous Expense                       2,058           (2,058)                 ie)             !)                0               1                   0              387            (312)                   0               9     12,313,402          12,313,478       12,313,478
                                              91,700           93,640           59,268          110,362          137,756         135,422             53,417             40,984           89,893             47,694         121,161       12,382,480          13,363,769       13,363,769
Total Expense                                289,059          424,720          343,182          407,124          430,493         406,989            357,626            308,769          400,264            382,566         456,929       12,788,671          16,996,379       16,996,380

EBITDA                                     (100,953)         (222,582)      = (123,642)      = (265,401)      = (208,512)        (75,121)            (2,377)             47,052         (95,231)         (231,475)      = (198,239)    (12,598,434)       = (14,074,900)     (14,074,900)

  Depreciation, Amortization                  (6,311)           (6,311)         (6,216)           (6,284)          (5,892)         (5,995)           (5,995)             (5,995)         (7,308)            (4,603)         (8,613)         (24,943)             (94,465)        (94,465)
Other Income and Expense
   Other Expenses                            (17,024)         (16,667)         (16,667)                 0                0               0                 Qo                 ie]               Q                  0               0                0             (50,357)       (50,357)
   Other Income                                (1,259)          (1,156)                0               te)          1,415                0                 ie]                 0                0                  0               1          16,913                14,615         14,615
   Franchise Taxes                                   i¢)               0               0        (25,900)         (25,000)        (25,000)           (25,000)           (25,000)         (25,000)                   0               0       (600,000)            (750,900)      (750,900)
   interest Expense                          (11,368)          (60,202)          40,625          (2,720)          (1,874)         (3,219)            (3,813)            (3,728)          (3,061)            (5,784)         (5,586)         (34,050)              (91,579)       (91,579)
Net Income                                   136,915          306,918                                                                                                                                                                                        415,047,585)    15,047,586
Net Margin                                       0.0%             0.0%             0.0%              0.0%            0.0%            0.0%               0.0%               0.0%            0.0%                0.0%            0.0%        (600.0%)              (600.0%)       (100.0%)




                                                                                                                                          4 of 1                                                                                                                                            Confidential
                                                                Z New Genesis Networks Telcom Services, LLC
                                   Case 24-33835-mvl7 Doc 141-3             FiledIncome
                                                                        Year-to-Date   02/03/25
                                                                                             Statement     Entered 02/03/25 17:46:43                                                                                           Desc
                          Exhibit EXH G-10 - Genesis Networks   Telecom
                                                           For the Twelve Months Services              LLC
                                                                                  Ending Friday, December      Income Statements (201
                                                                                                          31, 2021                                                                                                             Page 12 of 14

                                         Jan, 2021         Feb, 2021        Mar, 2021       Apr, 2021        May, 2021       Jun, 2021        Jul, 2021       Aug, 2021        Sep, 2021       Oct, 2021       Nov, 2021       Dec, 2021          Total          YTD
Revenue
   Services                               1,748,420.       1,274,527.       1,250,965.        718,774,         723,852.        789,068.         815,951.        733,486.         826,459.      1,020,287.         930,214.       774,053.       11,606,056.    11,606,056.
   Accrued /Unbilled Revenue                (11,489.)         (3,079.)         16,055.        {12,351.)           3,220.          3,755.           1,569.       249,728.          30,539.      (146,009.)       (120,458.)        22,005.           33,486.        33,486.
    Income Other
Total Revenue                             1,736,931.       1,271,448.       1,267,020.        706,423.         727,072.        792,823.         817,520.        983,214,         856,998.        874,278.        809,756.        796,058.       11,639,541.    11,639,542.

Cost of Goods Sold
   Production COGS-Labor                    199,565           152,715          174,772         137,388          129,027         156,060          126,988         130,663          164,024        124,460          117,322         141,123        1,754,106      1,764,106
   Production COGS-Other                      6,419            18,643           24,153          16,296            19,648         25,548           30,782          27,911           38,258          63,922          65,935          84,821          422,336        422,336
   Production COGS-Materials              1,137,763           629,118          729,350         339,084          342,208         424,072          476,886         434,053          391,420        463,043          409,858         361,589        6,138,443      6,138,443
Cost of Goods Sold                        1,343,747           800,476          928,275         492,768          490,883         605,680          634,656         592,627          593,702        651,425          593,115         587,533        8,314,885      8,314,885

Gross Profit                                 393,184          470,972          338,745         213,655          236,189         187,143          182,864         390,587          263,296         222,853         216,641         208,525        3,324,656      3,324,657

Expenses
 Employee Expense
   Net Salaries                             180,188           184,814          195,954         159,809          144,838         171,215          128,302         137,368          171,754         142,901         148,654         177,891         1,943,690      1,943,690
   Applied Overheads                        (27,066)          (20,683)         (24,922)        (17,590)         (16,883)        (21,003)         (16,463)        (17,522)         (21,971)        (15,917)        (15,581)        (17,027)        (232,628)      (232,628)
   Bonuses and Commissions                     6,529            13,327            3,105           3,193                 0           (910)           3,128           7,537            4,502          41,011           7,748          13,190           72,358         72,358
   Payroli Taxes                              33,392            22,192          34,221           18,424           18,477          21,252           15,416          15,800           19,164          15,533          16,393          17,515          246,778        246,778
   Health, Vision, Life Insurance             40,684            19,259                40         40,721            8,119           5,773           14,664           3,246            5,922           8,686           7,781           4,743          129,639        129,639
   Payroll Processing Fee                        633             1,519              648             515              530              737             627             619              629             477             620             731             8,284          8,284
   FMLA Program Admin Fee                        168               168               134                e)           268                (0)              0               0                0                0         1,080                 0           1,818          1,818
                                            234,528           220,596          209,180         175,072          156,349         177,064          145,674         147,048          180,000         162,691         165,695         497,043         2,169,939      2,169,939
 Operating Expenses
   Rent                                       39,907           46,399           29,756           31,083          28,494          28,494           28,494           28,353          28,353           25,502         26,353           26,353          367,542        367,542
   Utilities                                   4,560             2,616           1,792            2,076              828         (2,203)           9,994                17          3,627            3,486          3,191            2,926           32,912         32,912
   Security Expense                              195               195              195              195                0            390             195               195            195               195           195              195             2,343          2,343
   Repairs and Maintenance                     3,911             5,261           7,058           11,993           4,577            2,206           2,578            2,189           4,738            2,295          2,255            2,546           51,606         51,606
   Liability Insurance                         4,899             4,899           4,899            4,899           4,899            4,899           4,899            4,899           9,702            9,702          9,991           10,369           78,955         78,955
   Workers Comp Insurance                      6,888             6,888           6,888            6,888           6,888            6,888           6,888            6,888           2,965            2,965          2,965            2,965           66,959         66,959
   Telephone,    Cell internet                30,147            27,809          28,076           18,889          10,564            9,419          15,982           21,000          20,277           22,341         22,543           24,725          251,773        251,773
   Travel Expense                              2,936             3,672           5,842            5,221           5,459            9,960           3,947            7,896           7,092            7,804         11,518           16,531           87,876         87,876
   Meals and Entertainment                       992             1,102            1,438            1,619           1,657           3,204           1,636             1,076          2,817             1,358         2,310            1,996           21,203         21,203
   Minor Tools Equipment                            (0)                0              (e)               0               0               9)           518                88              33                 0              0                0             639            639
   Training, CE, PD                                 ce)                0            947                 0               0               Q               (9)                0              0                0              0                0             947            947
   Recruiting Expense                            385                 28             433                 0               0               0            130                 14               0              70               0                0           1,061          1,061
   Expenses - Other                                 (0)               (9)              0                0              (9)              0               t]                i)        2,748               731              iY)              (e)          3,478          3,478
                                              94,820            98,869          87,324           82,863          63,366          63,257           75,261           72,615          82,547           76,449         81,321           88,606          967,294        967,294
 G & A Expense
   Dues and Subscriptions                      8,222             8,196          12,901           9,599            9,278           8,623           10,062            7,313            4,035           7,049          6,676            8,467          100,420        100,420
   Licenses and Permits                        2,241               181              556          2,320            2,945            3,668           2,367               509               39            204           1,293        (11,033)             5,290          5,290
   Postage and Delivery                           534              317              132             350              457             692             798               428           1,832           2,687           1,771             406           10,405         10,405
   Professional Fees                          23,816            69,578          30,263          41,386           33,683          38,270           51,408           52,719         142,467          78,756          36,592         (82,631)          516,306        516,306
   Office Supplies & Equipment                  1,792            1,118            2,550          3,649              480              746             308               447             967           3,526           1,428           2,670           19,680         19,680
   Marketing, Advertising Promotions                  0                0               0               0                0               0               0                 0                0           255                0            255               510            510
   Bank Services Charges                          602              306              356             353              329             349             329             4,066             327             791             268             502             5,577          5,577
   Bad Debt Expense                                  (0)      (17,065)                 0               0               ct)              0               9]                0                0       30,876           5,270           24,621           43,702         43,702
   Employee Benefits/Relations                    341              372              581          2,624                85             212             140               336             337             303               59            308             5,699          5,699
   Miscellaneous Expense                          225              406               (1)          (150)            (481)                0               0                 0                0               0               0             40               40             40
                                              37,773            63,409          47,338          60,131           46,776          52,560           65,412           62,818         150,004         124,447          §3,357         (66,395)          707,629        707,629
Total Expense                                367,124          382,874          343,842         318,066          265,491         292,881          286,347          282,481         412,551         363,587         300,373         229,254         3,844,862      3,844,862

EBITDA                                        26,063           88,098            (5,097)      (104,411)         {29,302}       (105,738)       (103,483)          108,106        (149,255)       (140,734)        (83,732)        (20,729)        (520,206)      (520,205)

  Depreciation, Amortization                 (13,024)         (15,197)         (12,707)        (18,666)         (14,286)        (12,720)         (15,859)        (14,283)         (13,816)        (13,628)        (13,841)        (13,520)        (171,548)      (171,548)
Other Income and Expense
   Other Income                                     ce)               0                0       5,427             (5,191)        650,095             i]                   0                 0     (4,884)            (4,986)         (4,760)         635,701        635,701
   Franchise Taxes                           (20,000)         (20,000)         (20,000)     (20,000)            (20,000)        (20,000)    (20,000)             (20,000)             (249)             0                  9               0      (160,249)      (160,249)
   Interest Expense                                                                F            .!                                           12,756)              14,104            5,309)                            .                            110,876        110,876
Net Income                                   (22.849)           38,857         (39,255) __ (152,589)            (73,452)        507,411 __ (152,098)              59.719         (168,629) __ (166.763)          _(413,140)       (44,398)        (327,178        327,177
Net Margin                                      0.0%              0.0%             0.0%         0.0%               0.0%          100.0%         0.0%                 0.0%             0.0%         0.0%               0.0%           0.0%            100.0%           0.0%




                                                                                                                                1 of 1                                                                                                                             Confidential
                                                                   Z New Genesis Networks                                      Telcom Services, LLC
                                    Case 24-33835-mvl7 Doc 141-3               FiledIncome
                                                                           Year-to-Date 02/03/25
                                                                                              Statement     Entered 02/03/25 17:46:43                                                                                                    Desc
                                                            For the Twelve Months Ending Saturday, December 31, 2022
                           Exhibit EXH G-10 - Genesis Networks Telecom Services LLC Income Statements (201                                                                                                                               Page 13 of 14

                                         dan, 2022      Feb,2022       Mar, 2022       Apr, 2022       May, 2022        Jun, 2022         Jul, 2022         Aug, 2022           Sep, 2022         _ Oct, 2022,         Nov, 2022         _Dec, 2022        Total           YTD
Revenue
    Services                               993,870.     1,144,374.     2,548,108.      4,071,268.       2,814,459.                   0.               0.                   0.               0.                   0.                0.        14,747,      11,586,826.    11,586,826.
   Accrued /Unbilled Revenue                44,173.        67,307.     1,130,138.      (822,468.}         (20,865.)                  0.               0.                (1,.)               0.                   0.                0.              0.        398,284.       398,284.
    Income Other
Total Revenue                             1,038,043.    1,211,681.     3,678,246.      3,248,800.       2,793,594.                   0.               0.                (t.)                0.                   0.                0.         14,747,     11,985,110.    11,985,110.

Cost of Goods Sold
   Production COGS-Labor                    103,172        114,931        171,565         135,109          144,116                    0                1                 (1)                 8)                   9              0                  0        668,896        668,896
   Production COGS-Other                     94,146         90,871         49,184          67,417           37,073                    0                0                   9]                0                    0              0            45,693         384,384        384,384
   Production COGS-Materials                516,360        608,358      2,171,272       1,791,087      _ 1,826,047                  (1)                0                   0                 0                    Qo        6,870                   0      6,919,991      6,919,991
Cost of Goods Sold                          713,678        814,160      2,392,021       1,993,613        2,007,238                  (1)                1                 (1)                 0                    0         6,870             45,693       7,973,270      7,973,271

Gross Profit                                324,365        397,521      1,286,225       1,255,187          786,356                    4           (1)                     0               0                   0            (6,870)           (30,946)      4,011,840      4,011,839
Gross Margin                                   0.0%           0.0%           0.0%            0.0%             0.0%            0.0%           200.0%               (100.0%)            0.0%                0.0%               0.0%           (200.0%)        (100.0%)           0.0%

Expenses
 Employee Expense
   Net Salaries                             159,092       164,609         210,626         186,667         190,780                   1             (1)                      0                 0                    0                 0                 0       911,774        911,774
   Applied Overheads                        (13,333)      (15,237)        (23,506)        (18,123)        (19,213)                 0                iv)                  (1)                 0                   (a)                0                 0       (89,413)      (89,413)
   Bonuses and Commissions                     9,541         7,983           8,050          53,096        112,286                (1)                 0                   (1)                 0                    0                 0                 0       190,955        190,955
   Payroll Taxes                              29,874        24,516          26,929          23,689          27,914             (11)               (1)                      0                 0                    0                 0                 0       132,909        132,909
   Health, Vision, Life Insurance              9,298        11,122           4,899           9,577           9,889                  1             (1)                       1               ct)                  (0)                0                 0         44,785        44,785
   Payroll Processing Fee                      1,394         2,046               25          1,423           1,278                 0                 0                     0                 0                   tt)               ()                 0          6,163         6,163
                                            195,863       195,039         227,023         256,329         322,934              (10)               (3)                    (1)                 0                    0                (e)                0     1,197,173      1,197,173
Operating Expenses
  Rent                                        26,353        27,064         29,392          20,896           22,305                    0              0                     0                 0                    0                 0                 0       126,011       126,011
  Utilities                                    2,786         2,638          2,904           2,947            3,029                    0              0                     0                 0                    0                 0                 0         14,303       14,303
  Security Expense                               200           200            200            1,472              200                   0              0                     0                 0                    0                 0                 0          2,275         2,275
  Repairs and Maintenance                      1,956         1,954          2,223           2,303            5,791                    0              0                     0                 0                    0                 0                 0         14,228        14,228
  Liability Insurance                         10,005        10,005         10,005          10,010           10,010                    0              0                     0                 0                    0                 0                 0        50,035        60,035
  Workers Comp insurance                       2,965         2,965          2,965           2,960            2,960                    0              0                     0                 0                    0                 0                 0         14,814        14,814
  Telephone,   Cell, Internet                 17,488        15,222         17,004          16,812           18,096                    0              1                     0                 0                    0                 0                 0        84,623        84,623
  Travel Expense                               2,117        16,120         12,925          22,852           19,937                    0              1                   (1)                 0                    0                 0                 0        73,952        73,952
  Meals and Entertainment                        450         3,254          4,951            1,998           5,562                    0           (1)                       1                0                    0                 0                 0         16,215        16,215
  Training, CE, PD                                  0             0              (0)           484                te)                 0             (0)                    0                 0                    0                 0                 0            484           484
  Recruiting Expense                           1,040           923            767               52            1,029                   0              0                     0                 0                    0                 0                 0          3,810         3,810
  Expenses - Other                                  0             0               0        32,017            3,469                    0              0                     0                 0                    0                (e)                0        35,485        35,485
                                              65,360        80,345         83,336         114,803           92,388                    0              1                     0                 0                    0                 0                 0       436,236       436,235
G &A Expense
  Dues and Subscriptions                      9,154           9,666        10,919          12,385           14,264                 0                0                    {1)                 0                    0                 0                0         56,389         56,389
  Licenses and Permits                             13         1,194          1,025           2,285          (1,749)                0                0                    (1)                 0                    0                 0                0           2,767          2,767
  Postage and Delivery                         1,497            370         2,272              868              777                0                0                      0                 0                    0                 0                0           5,785          5,785
  Professional Fees                          21,252         26,735         65,223          62,862           30,856                 0                0                      0                 0                    0                 0            950          207,879        207,879
  Office Supplies & Equipment                  1,199            958         3,510            6,574            3,607                0                0                      0                 0                    0                 0                0         15,848         15,848
  Marketing, Advertising Promotions                 0              0              0            255                 0               0                0                      0                 0                    0                 0                0             255            255
  Bank Services Charges                          307            359            307             364              332                0                0                      0                 0                    0                 0            (40)            1,629          1,629
  Employee Benefits/Relations                    179          2,043            994           1,601            2,356                0         °      0                      0                 0                    0                 0                0           7,172          7,172
  State, Local Tax Expense                          0              0              0          (209)               71                0                0)                     0                 0                    0                 0                0           (138)          (138)
  Property Taxes                                    0         2,768               0                0               0               0                0                      0                 0                    0                 0                0           2,768          2,768
                                             33,601         44,093         84,250          86,985           §0,514                 0                0                    (2)                 0                    0                 0            910          300,353        300,354
Total Expense                               294,824        319,477        394,609         458,117          465,836             (10)               (2)                    (3)                 0                    0                 0            910        1,933,761      1,933,762

EBITDA                                        29,541        78,044        891,616         797,070          320,520                  11                 1                    3                0                    0        (6,870)          (31,856)       2,078,078      2,078,077

  Depreciation, Amortization                (13,453)      (13,469)        (13,966)        (13,872)         (13,947)                   0                0                    0                0                    0                 0                 0      (68,707)       (68,707)
Other Income and Expense
   Other Expenses                                   0             0               0               0                0                  0               (0)                 0                  0                 0                    0       (71,793)          (71,793)      (71,793)
   Other income                                (261)              0              (0)       (5,132)          (5,298)                   0                0             1,498                   0            8,191                     0    = 1,746,360        1,745,357      1,745,357
   interest Expense                         (14,469)      (18,369)         (8,255)        (12,587)         (13,006)                   0                0                  0                  0            8,191                     0               0         (59,495)      {59,495}
Net income                              1,358            46,206         868,305         765.470            288.269                                          «SO                              oO          _16,382                                                          3,623,439
Net Margin                                                                                                      .                                           (31       0%)             0.0%              ~0.0%




                                                                                                                                                                                                                                                                           Confidential
                                                          Z New Genesis Networks Telcom Services, LLC
                              Case 24-33835-mvl7 Doc 141-3               Filedincome
                                                                   Year-to-Date    02/03/25
                                                                                        Statement    Entered 02/03/25 17:46:43                                                                                          Desc
                     Exhibit EXH G-10 - Genesis Networks    Telecom
                                                    For the Twelve            Services
                                                                     Months Ending                LLC31, Income
                                                                                    Sunday, December      2023  Statements (201                                                                                         Page 14 of 14

                                     Jan, 2023        Feb, 2023         Mar, 2023         Apr, 2023         May, 2023         Jun, 2023         Jul, 2023         Aug, 2023       Sep, 2023       Oct, 2023_       Nov, 2023__     Dec, 2023        Total       YTD
  Income Other

Expenses
 Employee Expense
Operating Expenses
       Cell, Internet
  Telephone,                                     0                (9)               0                  0                0                  0                0                 0               0                0        (1,462)                0    (1,462)     (1,462)
                                                 0                 0                i)                ie)               0                 (9)               0                 0               0                0        (1,462)                O    (1,462)     (1,462)
G & A Expense

Total Expense                                    0                fo)               0                 0                 0                 0                 0                 0               0                0        (1,462)                0    (1,462)     (1,462)

EBITDA                                           0                 0                0                 0                 0                  0                ie]               0               0                0          1,462                0      1,462       1,462

Other Income and Expense
   Interest Expense                               0                0                 0                 0                0}                 0                0             (2)                 0                0               0                0        (2)         (2)
Net Income                                       (q                0                (0)                0                0                  0                0             (2)                 0                0          1,462                oO     1,460       1,460




                                                                                                                             1of1                                                                                                                              Confidential
